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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION


AUGUST DEKKER, et al.,

                Plaintiffs,
           v.                          Case No. 4:22-cv-00325-RH-MAF

JASON WEIDA, et al.,

                Defendants.


          EXPERT REPORT OF STEPHEN B. LEVINE, M.D.
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I.      CREDENTIALS

        1.     I am Clinical Professor of Psychiatry at Case Western Reserve

University School of Medicine, and maintain an active private clinical practice. I

received my MD from Case Western Reserve University in 1967, and completed a

psychiatric residency at the University Hospitals of Cleveland in 1973. I became

an Assistant Professor of Psychiatry at Case Western in 1973, became a Full

Professor in 1985, and in 2021 was honored to be inducted into the Department of

Psychiatry’s “Hall of Fame.”

        2.     Since July 1973, my specialties have included psychological

problems and conditions relating to individuals’ sexuality and sexual relations,

therapies for sexual problems, and the relationship between love, intimate

relationships, and wider mental health. In 2005, I received the Masters’ and

Johnson Lifetime Achievement Award from the Society of Sex Therapy and

Research. I am a Distinguished Life Fellow of the American Psychiatric

Association.

        3.     I have served as a book and manuscript reviewer for numerous

professional publications. I have been the Senior Editor of the first (2003),

second (2010), and third (2016) editions of the Handbook of Clinical Sexuality

for Mental Health Professionals. In addition to five previously solo-authored

books for professionals, I have published Psychotherapeutic Approaches to


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Sexual Problems (2020). The book has a chapter titled “The Gender

Revolution.”

      4.     In total I have authored or co-authored over 180 journal articles and

book chapters, 27 of which deal with the issue of gender dysphoria. I was an

invited member of a Cochrane Collaboration subcommittee that sought to publish

a review of the scientific literature on the effectiveness of puberty blocking

hormones and of cross-sex hormones for gender dysphoria for adolescents.

Cochrane Reviews are a well-respected cornerstone of evidence-based practice,

comprising a systematic review that aims to identify, appraise, and synthesize all

the empirical evidence that meets pre-specified eligibility criteria in response to a

particular research question.

      5.     I first encountered a patient suffering what we would now call gender

dysphoria in July 1973. In 1974, I founded the Case Western Reserve University

Gender Identity Clinic, and have served as Co-Director of that clinic since that

time. Across the years, our Clinic treated hundreds of patients who were

experiencing a transgender identity. An occasional child was seen during this era. I

was the primary psychiatric caregiver for several dozen of our patients and

supervisor of the work of other therapists. I was an early member of the Harry

Benjamin International Gender Dysphoria Association (later known as WPATH)

and served as the Chairman of the committee that developed the 5th version of its

Standards of Care. In 1993 the Gender Identity Clinic was renamed, moved to a
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new location, and became independent of Case Western Reserve University. I

continue to serve as Co-Director.

      6.     In the course of my five decades of practice treating patients who

suffered from gender dysphoria, I have at one time or another recommended or

supported social transition, cross-sex hormones, and surgery for particular

patients, but only after extensive diagnostic and psychotherapeutic work.

      7.     In 2006, Judge Mark Wolf of the Eastern District of Massachusetts

asked me to serve as an independent, court-appointed expert in a litigation

involving the treatment of a transgender inmate within the Massachusetts prison

system. In that litigation, the U.S. Court of Appeals for the First Circuit in a 2014

(En Banc) opinion cited and relied on my expert testimony. I have been retained by

the Massachusetts Department of Corrections as a consultant on the treatment of

transgender inmates since 2007.

      8.     In 2019, I was qualified as an expert and testified concerning the

diagnosis, understanding, developmental paths and outcomes, and therapeutic

treatment of transgenderism and gender dysphoria, particularly as it relates to

children, in the matter of In the Interest of J.A.D.Y. and J.U.D.Y., Case No. DF-15-

09887-S, 255th Judicial District, Dallas County, TX (the “Younger litigation”).

      9.     In 2019, I provided written expert testimony in the landmark case in

the United Kingdom in the case of Bell v. The Tavistock and Portman NHS

Foundation Trust. I have provided expert testimony in other litigation as listed in
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my curriculum vitae, which is attached as Exhibit “A”.

         10.   I am regularly requested to speak on the topic of gender dysphoria and

have given countless presentations to academic conferences and Departments of

Psychiatry around the country. In May 2022, I organized and co-presented a

symposium on the management of adolescent-onset transgender identity at

American Psychiatric Association’s Annual Meeting.

         11.   A fuller review of my professional experience, publications,

and awards is provided in my curriculum vitae, a copy of which is attached

hereto as Exhibit “A”.

         12.   I am being compensated for my time spent in connection with

this case at a rate of $400.00 per hour. My compensation is not dependent

upon the outcome of this litigation or the substance of my opinions.

II.      SUMMARY

         1.    A summary of the key points that I explain in this report is as follows:

               a. Sex as defined by biology and reproductive function is clear,

binary, and cannot be changed. While hormonal and surgical procedures may

enable some individuals to “pass” as the opposite gender during some or all of

their lives, such procedures carry with them physical, psychological, and social

risks, and no procedures can enable an individual to perform the reproductive

role of the opposite sex. (Section III.A.)


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          b. The diagnosis of “gender dysphoria” encompasses a diverse array

   of conditions, with widely differing pathways and characteristics depending

   on age of onset, biological sex, mental health, intelligence, motivations for

   gender transition, socioeconomic status, country of origin, etc. Data from

   one population (e.g., adults) cannot be assumed to be applicable to others

   (e.g., children). (Section III.B.)

          c. Among practitioners in the field, there are currently widely

   varying views concerning both the causes of and appropriate therapeutic

   response to gender dysphoria in children or adolescents. There are no

   generally accepted “standards of care” and existing studies do not provide a

   basis for a scientific conclusion as to which therapeutic response results in

   the best long-term outcomes for affected individuals. The scientific basis

   for affirmative care is uncertain. (Section III.)

          d. Transgender identity is not biologically based. Rather, gender

   dysphoria is a psychiatric condition that cannot be identified by any

   biological test or measurement. (Sections V.A, IV.B.)

          e. Disorders of sexual development (“DSDs”) are biological

   phenomena. It is an error to conflate and/or scientifically link DSDs with

   incidents of gender dysphoria. (Sections V.C, V.D.)

         f. The large majority of children who are diagnosed with gender

   dysphoria “desist”—that is, their gender dysphoria does not persist—by
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   puberty or adulthood. Desistance is also increasingly observed among teens

   and young adults who have experienced “rapid onset gender dysphoria” —

   first manifesting gender dysphoria during or shortly after adolescence.

   (Section VI.A., VI.B.)

         g. “Social transition” —the active affirmation of transgender

   identity—in    young     children   is   a   powerful   psychotherapeutic

   intervention that will substantially reduce the number of children

   “desisting” from transgender identity. Therefore, the profound

   implications of “affirmative” treatment—which include taking puberty

   blockers and cross-sex hormones—must be taken into account where

   social transition is being considered. (Section VII.A,, VII.B.)

         h. Administration of puberty blockers is not a benign “pause” of

   puberty, but rather a powerful medical and psychotherapeutic intervention

   that almost invariably leads to persistence in a transgender identity and,

   ultimately, to the administration of cross-sex hormones. (Section VII.C.)

         i. The knowledge base concerning the “affirmative” treatment

   of gender dysphoria available today has very low scientific quality

   with many relevant long-term implications remaining unknown.

   (Section VIII.A)

         j. There are no studies that show that affirmation of transgender

   identity in young children reduces suicide or suicidal ideation, or improves
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   long-term outcomes, as compared to other therapeutic approaches.

   Meanwhile, multiple studies show that adult individuals living transgender

   lives suffer much higher rates of suicidal ideation, completed suicide, and

   negative physical and mental health conditions than does the general

   population. This is true before and after transition, hormones, and surgery.

   (Section VIII.B., VIII.C.)

         k. In light of what is known and not known about the impact of

   affirmation on the incidence of suicide, suicidal ideation, and other

   indicators of mental and physical health, it is scientifically baseless, and

   therefore unethical, to assert that a child or adolescent who express an

   interest in a transgender identity will kill him- or herself unless adults and

   peers affirm that child in a transgender identity. (Section IX.)

         l. Hormonal interventions to treat gender dysphoria are experimental

   in nature and have not been shown to be safe, but rather put an individual at

   risk of a wide range of long-term and even life-long harms including:

   physical health risks; sterilization and the associated emotional response;

   impaired sexual response; surgical complications and life- long after-care;

   alienation of family and romantic relationships; elevated mental health risks

   of depression, anxiety, and substance abuse. (Section X.)




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III.     BACKGROUND ON THE FIELD

         A.    The biological baseline of the binary sexes

         19.   Biological sex is very well defined in all biological sciences including

medicine. It is pervasively important in human development throughout the

lifecycle.

         20.   Sex is not “assigned at birth” by humans visualizing the genitals of a

newborn; it is not imprecise. Rather, it is clear, binary, and determined at

conception. The sex of a human individual at its core structures the individual’s

biological reproductive capabilities—to produce ova and bear children as a

mother, or to produce semen and beget children as a father. As physicians know,

sex determination occurs at the instant of conception, depending on whether a

sperm’s X or Y chromosome fertilizes the egg. A publication of the federal

government’s National Institute of Health accurately summarizes the scientific

facts:

               “Sex is a biological classification, encoded in our DNA.
               Males have XY chromosomes, and females have XX
               chromosomes. Sex makes us male or female. Every cell
               in your body has a sex— making up tissues and organs,
               like your skin, brain, heart, and
               stomach. Each cell is either male or female depending on
               whether you are a man or a woman.” (NIH 2022.)

         21.   The binary of biological sex is so fundamental and wide-ranging in its

effects on human (and mammal) development and physiology that since 2014 the

NIH has required all funded research on humans or vertebrate animals to include
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“sex as a biological variable” and give “adequate consideration of both sexes in

experiments.” (NIH 2015). In 2021, the Endocrine Society issued a position paper

elaborating on the application of the NIH requirement. The Endocrine Society

correctly stated that “Sex is a biological concept . . . all mammals have 2 distinct

sexes;” that “biological sex is . . . a fundamental source of intraspecific variation in

anatomy and physiology;” and that “In mammals, numerous sexual traits (gonads,

genitalia, etc.) that typically differ in males and females are tightly linked to each

other because one characteristic leads to sex differences in other traits.” (Bhargava

et al. 2021 at 221, 229.)

      22.    The Endocrine Society emphasized that “The terms sex and gender

should not be used interchangeably,” and noted that even in the case of those

“rare” individuals who suffer from some defect such that they “possess a

combination of male- and female-typical characteristics, those clusters of traits are

sufficient to classify most individuals as either biologically male or female.” They

concluded, “Sex is an essential part of vertebrate biology, but gender is a human

phenomenon. Sex often influences gender, but gender cannot influence sex.”

(Bhargava et al. 2021 at 220-221, 228.)

      23.    As these statements and the NIH requirement suggest, biological sex

pervasively influences human anatomy, its development and physiology. This

includes, of course, the development of the human brain, in which many sexually

dimorphic characteristics have now been identified. In particular, the Endocrine
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Society and countless other researchers have

determined that human brains undergo particular sex-specific developmental

stages during puberty. This predictable developmental process is a genetically

controlled coordinated endocrine response that begins with pituitary influences

leading to increases in circulating sex hormones. (Bhargava et al. 2021 at 225,

229; Blakemore et al. 2010 at 926-927, 929; NIH

2001.).

      24.   Humans have viewed themselves in terms of binary sexes since the

earliest historical records. Recognizing a concept of “gender identity” as something

distinct from sex is a rather recent innovation whose earliest manifestations likely

began in the late 1940s. Its usage became common in medicine in the 1980s and

subsequently in the larger culture. Definitions of gender have been evolving and

remain individual-centric and subjective. In a statement on “Gender and Health,”

the World Health Organization defines “gender” as “the characteristics of women,

men, girls and boys that are socially constructed” and that “var[y] from society to

society and can change over time,” and “gender identity” as referring to “a

person’s deeply felt, internal and individual experience of gender.” (WHO Gender

and Health.) As these definitions indicate, a person’s “felt” “experience of gender”

is inextricably bound up with and affected by societal gender roles and

stereotypes—or, more precisely, by the affected individual’s perception of societal

gender roles and stereotypes and their personal idiosyncratic meanings. Typically,
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gendered persons also have subtly different, often idiosyncratic, reactions to

societal gender roles and stereotypes without preoccupation with changing their

anatomy.

      25.    Thus, the self-perceived gender of a child begins to develop along

with the early stages of identity formation generally, influenced in part from how

others label the infant: “I love you, son (daughter).” This designation occurs

thousands of times in the first two years of life when a child begins to show

awareness of the two possibilities. As acceptance of the designated

gender corresponding to the child’s sex is the outcome in >99% of children

everywhere, anomalous gender identity formation begs for understanding. Is it

biologically shaped? Is it biologically determined? Is it the product of how the

child was privately regarded and treated? Is it a product of the quality of early life

caregiver attachments? Does it stem from trauma-based rejection of maleness or

femaleness, and if so, flowing from what trauma? Does it derive from a tense,

chaotic interpersonal parental relationship without physical or sexual abuse? Is it a

symptom of another, as of yet, unrevealed, emotional disturbance or

neuropsychiatric condition (autism)? The answers to these relevant questions are

not scientifically known but are not likely to be the same for every trans-identified

child, adolescent, or adult.

      26.     Under the influence of hormones secreted by the testes or ovaries,

numerous additional sex-specific differences between male and female bodies
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continuously develop postnatally, culminating in the dramatic maturation of the

primary and secondary sex characteristics with puberty. These include

differences in hormone levels, height, weight, bone mass, shape, musculature,

internal organ size, body fat levels and distribution, and hair patterns, as well as

physiological differences such as menstruation and ejaculation. These are

genetically programmed biological consequences of sex—the actual meaning of

sex over time. Among the consequences of sex is the evolution and consolidation

of gender identity during childhood, adolescence, and adulthood.

      27.    Despite the increasing ability of hormones and various surgical

procedures to reconfigure some male bodies to visually pass as female, or vice

versa, the biology of the person remains as defined by his (XY) or her (XX)

chromosomes, including cellular, anatomic, and physiologic characteristics and

the particular disease vulnerabilities associated with that chromosomally defined

sex. For instance, the XX (genetically female) individual who takes testosterone to

stimulate certain male secondary sex characteristics will nevertheless remain

unable to produce sperm and father children. Contrary to assertions and hopes that

medicine and society can fulfill the aspiration of the trans individual to become “a

complete man” or “a complete woman,” this is not biologically attainable. (Levine

2018 at 6; Levine 2016 at 238.) It is possible for some adolescents and adults to

pass unnoticed—that is, to be perceived by most individuals as a member of the

gender that they aspire to be—but with limitations, costs, and risks, as I detail
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later.

         B.    Definition and diagnosis of gender dysphoria

         28.   Specialists have used a variety of terms over time, with somewhat

shifting definitions, to identify and speak about a distressing incongruence

between an individual’s genetically determined sex and the gender with which

they identify or to which they aspire. Today’s American Psychiatric Association

Diagnostic and Statistical Manual of Mental Disorders (“DSM-5-TR”) employs

the term Gender Dysphoria and defines it with separate sets of criteria for

adolescents and adults on the one hand, and children on the other.

         29.   There are at least five distinct pathways to gender dysphoria: early

childhood onset; onset near or after puberty with no prior cross gender patterns;

onset after defining oneself as gay for several or more years and participating in a

homosexual lifestyle; adult onset after years of heterosexual transvestism; and

onset in later adulthood with few or no prior indications of cross-gender tendencies

or identity. (Levine 2021.)

         30.   Gender dysphoria has very different characteristics depending on

age and sex at onset. Young children who are living a transgender identity

commonly suffer materially fewer symptoms of concurrent mental distress than

do older patients. (Zucker 2018 at 10.) The developmental and mental health

patterns for each of these groups are sufficiently different that data developed in

connection with one of these populations cannot be assumed to be applicable to
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another.

      31.    The criteria used in DSM-5-TR to identify Gender Dysphoria include

a number of signs of discomfort with one’s natal sex and vary somewhat

depending on the age of the patient, but in all cases require “clinically significant

distress or impairment in . . . important areas of functioning” such as social,

school, or occupational settings. The symptoms must persist for at least six

months.

      32.    Children who conclude that they are transgender are often unaware of

a vast array of adaptive possibilities for how to live life as a man or a woman—

possibilities that become increasingly apparent over time to both males and

females. A boy or a girl who claims or expresses interest in pursuing a transgender

identity often does so based on stereotypical notions of femaleness and maleness

that reflect constrictive notions of what men and women can be. (Levine 2017 at

7.) A young child’s—or even an adolescent’s—understanding of this topic is quite

limited. Nor can they grasp what it may mean for their future to be sterile (Levine

et al, 2022). These children and adolescents consider themselves to be relatively

unique; they do not realize that discomfort with the body and perceived social role

is neither rare nor new to civilization. What is new is that such discomfort is

thought to indicate that they must be a trans person.

      C.     Impact of gender dysphoria on minority and vulnerable groups

      33.    Given that, as I discuss later, a diagnosis of gender dysphoria is now
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frequently putting even young children on a pathway that leads to irreversible

physical changes and sterilization by young adulthood, it should be of serious

concern to all practitioners that minority and vulnerable groups are receiving this

diagnosis at disproportionately high rates. These include: children of color (Rider

et al. 2018), children with mental developmental disabilities (Reisner et al. 2015),

children on the autistic spectrum (at a rate more than 7x the general population)

(Shumer et al. 2016; van der Miesen et al. 2018), children with ADHD (Becerra-

Culqui et al. 2018), children residing in foster care homes, adopted children (at a

rate more than 3x the general population) (Shumer et al. 2017), victims of

childhood sexual or physical abuse or other “adverse childhood events” (Thoma

2021 et al.; Newcomb et al. 2020; Kozlowska et al.,2021), children with a prior

history of psychiatric illness (Edwards-Leeper et al. 2017; Kaltiala- Heino et al.

2015; Littman 2018), and more recently adolescent girls (in a large recent study, at

a rate more than 2x that of boys) (Rider et al. 2018 at 4).

      D.     Three competing conceptual models of gender dysphoria and
             transgender identity

      34.    Discussions    about    appropriate    responses   by   mental   health

professionals (“MHPs”) to actual or sub-threshold gender dysphoria are

complicated by the fact that various speakers and advocates (or a single speaker at

different times) view transgenderism through at least three very different

paradigms, often without being aware of, or at least without acknowledging, the

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distinctions.

      35.       Gender dysphoria is conceptualized and described by some

professionals and laypersons as though it were a serious, physical medical

illness that causes suffering, comparable to diseases that are curable before it

spreads, such as melanoma or sepsis. Within this paradigm, whatever is causing

distress associated with gender dysphoria—whether secondary sex characteristics

such as facial hair, nose and jaw shape, presence or absence of breasts, or the

primary anatomical sex organs of testes, ovaries, penis, or vagina—should be

removed to alleviate the illness. The promise of these interventions is the cure of

the gender dysphoria.

      36.       Gender dysphoria is a psychiatric, not a medical, diagnosis. Since its

inception in DSM-III in 1983, it has always been specified in the psychiatric DSM

manuals and has not been specified in medical diagnostic manuals. Notably,

gender dysphoria is the only psychiatric condition to be treated by surgery, even

though no endocrine or surgical intervention package corrects any identified

biological abnormality. (Levine 2016 at 240.)

      37.       Gender dysphoria is alternatively conceptualized in developmental

terms, as an adaptation to a psychological problem that may have been first

manifested as a failure to establish a comfortable conventional sense of self in

early childhood. This paradigm starts from the premise that all human lives are

influenced by past processes and events. Trans lives are not exceptions to this
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axiom. (Levine 2016 at 238.) MHPs who think of gender dysphoria through this

paradigm may work both to identify and address causes of the basic problem of the

deeply uncomfortable self or a sense of self impaired by later adversity or abuse.

The purpose is to ameliorate suffering when the underlying problem cannot be

solved. MHPs first work with the patient and (ideally) family to learn about the

events and processes that may have led to the trans person repudiating the gender

associated with his sex. The developmental paradigm is mindful of temperamental,

parental bonding, psychological, sexual, and physical trauma influences, and the

fact that young children work out their psychological issues through fantasy and

play and adolescents work out their issues by adopting various interests and

identity labels.

       38.    There is evidence among adolescents that peer social influences

through “friend groups” (Littman 2018) or through the internet can increase the

incidence of gender dysphoria or claims of transgender identity. Responsible

MHPs will want to probe these potential influences to better understand what is

truly deeply tied to the psychology of the patient, and what may instead be being

“tried on” by the youth as part of the adolescent process of self-exploration and

self-definition.

       39.    In addition, the developmental paradigm recognizes that, with the

important exception of genetic sex, essentially all aspects of an individual’s

identity evolve—often markedly—across the individual’s lifetime. This includes
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gender. Some advocates assert that a transgender identity is biologically caused,

fixed from early life, and eternally present in an unchanging manner. As I review

later, however, this assertion is not supported by science. 1

       40.    The third paradigm through which gender dysphoria is alternatively

conceptualized is from a sexual minority rights perspective. Under this paradigm,

any response other than medical and societal affirmation and implementation of a

patient’s claim to “be” the opposite gender is a violation of the individual’s civil

right to self-expression. Any effort to ask “why” questions about the patient’s

condition, or to address underlying causes, is viewed as a violation of autonomy

and civil rights. In the last few years, this paradigm has been successful in

influencing public policy and the education of pediatricians, endocrinologists, and

many mental health professionals. Obviously, however, this is not a medical or

psychiatric perspective. Unfortunately, it appears to be the most powerful

perspective that exists in the public, non- scientific debate.

       E.     Four competing models of therapy

       41.    Few would disagree that the human psyche is complex. Few would

disagree that children’s and adolescents’ developmental pathways typically have

surprising twists and turns. The complexity and unpredictability of childhood and

adolescent development equally applies to


       1
         Even the advocacy organization The Human Rights Campaign asserts that a person can
have “a fluid or unfixed gender identity.” https://www.hrc.org/resources/glossary-of-terms.
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trans-identifying youth. Because of past difficulties of running placebo-controlled

clinical trials in the transgender treatment arena, substantial disagreements among

professionals about the causes of trans identities and their ideal treatments exist.

These current disagreements might have been minimized if trans treated persons

were carefully followed up to determine long term outcomes. They have not been.

When we add to this to the very different current paradigms for understanding

transgender phenomena, it is not scientifically surprising that disagreements are

sharply drawn. It is with this in mind that I summarize below the leading

approaches, and offer certain observations and opinions concerning them.

             (1)   The “watchful waiting” therapy model

      42.    In Section V.A below I review the uniform finding of eleven follow-

up studies that the large majority of children who present with gender dysphoria

will desist from desiring a transgender identity by adulthood if left untreated by

social transition approaches.

      43.    When a pre-adolescent child presents with gender dysphoria, a

“watchful waiting” approach seeks to allow for the fluid nature of gender identity

in children to naturally evolve— that is, take its course from forces within and

surrounding the child. Watchful waiting has two versions:

             a. Treating any other psychological co-morbidities—that is, other

      mental illnesses as defined by DSM-5-TR (separation anxiety disorder,

      attention deficit hyperactivity disorder, autism spectrum disorder, obsessive
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      compulsive disorder, etc), or subthreshold for diagnosis but behavioral

      problems that the child may exhibit (school avoidance, bedwetting, inability

      to make friends, aggression/defiance) without a focus on gender (model #1);

      and

            b. No treatment at all for anything but a regular follow-up

      appointment. This might be labeled a “hands off” approach (model #2).

            (2)    The psychotherapy model: Alleviate distress by
                   identifying and addressing causes (model #3)

      44.   One of the foundational principles of psychotherapy has long been to

work with a patient to identify the causes of observed psychological distress and

then to address those causes as a means of alleviating the distress. The National

Institute of Mental Health has promulgated the idea that 75% of adult

psychopathology has its origins in childhood experience.

      45.   Many experienced practitioners in the field of gender dysphoria,

including myself, have believed that it makes sense to employ these long-standing

tools of psychotherapy for patients suffering gender dysphoria, asking the question

as to what factors in the patient’s life are the determinants of the patient’s

repudiation of his or her natal sex. (Levine 2017 at 8; Spiliatis 2019; Levine

2021.Levine et al, 2022) I and others have reported success in alleviating distress

in this way for at least some patients, whether the patient’s sense of discomfort or

incongruence with his or her natal sex entirely disappeared or not. Relieving

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accompanying psychological co-morbidities leaves the patient freer to consider the

pros and cons of transition as he or she matures.

      46.    Among other things, the psychotherapist who is applying traditional

methods of psychotherapy may help—for example—the male patient appreciate

the wide range of masculine emotional and behavioral patterns as he grows older.

He may discuss with his patient, for example, that one does not have to become a

“woman” to be kind, compassionate, caring, noncompetitive, to love the arts, and

to be devoted to others’ feelings and needs. (Levine 2017 at 7.) Many biologically

male trans individuals, from childhood to older ages, speak of their perceptions of

femaleness as enabling them to discuss their feelings openly, whereas they

perceive boys and men to be constrained from emotional expression within the

family and larger culture, and to be aggressive. Men, of course, can be emotionally

expressive, just as they can wear pink. Converse examples can be given for girls

and women. These types of ideas regularly arise during psychotherapies.

      47.    As I note above, many gender-nonconforming children and

adolescents in recent years derive from minority and vulnerable groups who have

reasons to feel isolated and have an uncomfortable sense of self. A trans identity

may be a hopeful attempt to redefine the self in a manner that increases their

comfort and decreases their anxiety. The clinician who uses traditional methods of

psychotherapy may not focus on their gender identity, but instead work to help

them to address the actual sources of their discomfort. They may enable the patient
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to understand the commonality of discomfort with the body’s physiology, the

growth process, and the struggle to accept oneself during the pubertal

developmental process. Patients need to understand that this discomfort with one’s

body, per se, and one’s attractiveness relative to others, typically lasts for several

years. Success in this effort may remove or reduce the desire for a redefined

identity. This often involves a focus on disruptions in their attachment to parents

in vulnerable children, for instance, those in the foster care system.

      48.    Because “watchful waiting” can include treatment of accompanying

psychological co-morbidities, and the psychotherapist who hopes to relieve

gender dysphoria may focus on potentially causal sources of psychological

distress rather than on the gender dysphoria itself, there is no sharp line between

“watchful waiting” and the psychotherapy model in the case of prepubescent

children.

      49.    To my knowledge, there is no evidence beyond anecdotal reports that

psychotherapy can enable a return to male identification for genetically male boys,

adolescents, and men, or return to female identification for genetically female

girls, adolescents, and women. On the other hand, anecdotal evidence of such

outcomes does exist; I and other clinicians have witnessed reinvestment in the

patient’s biological sex in some individual patients who are undergoing

psychotherapy. The Internet contains many such reports, and I have published a

paper on a patient who sought my therapeutic assistance to reclaim his male
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gender identity after 30 years living as a woman and is in fact living as a man

today. (Levine 2019.) I have seen children desist even before puberty in response

to thoughtful parental interactions and a few meetings of the child with a therapist.

There are now a series of articles and at least one major book on the psychological

treatment of adolescents. (D’Angelo et al. 2021 at 7-16; Evans & Evans 2021.)

Among detransitioners, a large percentage express regret that their affirmative

therapists did not recommend psychotherapy before encouraging hormonal

treatment (Littman, (2021). Individuals treated for gender dysphoria with medical

and/or surgical transition who subsequently detransitioned: A survey of 100

detransitioners. Archives of Sexual Behavior, 50(8)3353-3369). Exposito-Campos

pointed out the large amount reports on detransition and the far greater traffic on

various nonprofessional websites (Exposito-Campos, 2021)

             (3)   The affirmation therapy model (model #4)

      50.    While it is widely agreed that the therapist should not directly

challenge a claimed transgender identity in a child, some advocates and

practitioners go much further, and promote and recommend that any expression of

transgender identity should be immediately accepted as decisive, and thoroughly

affirmed by means of consistent use of clothing, toys, pronouns, etc., associated

with transgender identity. They argue that the child should be comprehensively re-

socialized in grade school in their aspired-to gender. As I understand it, this is

asserted as a reason why male students who assert a female gender identity must
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be permitted to compete in girls’ or women’s athletic events. These advocates treat

any question about the causes of the child’s transgender identification as

inappropriate. They may not recognize the child’s ambivalence. They assume that

observed psychological co-morbidities in the children or their families are

unrelated or will get better with transition, and need not be addressed by the MHP

who is providing supportive guidance concerning the child’s gender identity.

      51.   Some advocates, indeed, assert that unquestioning affirmation of any

claim of transgender identity in children is essential, and that the child will

otherwise face a high risk of suicide or severe psychological damage. This claim is

simply not supported by the clinical data we have available to us. Indeed, available

long-term data contradicts this claim. I address physical and mental health

outcomes in Section VII below, and suicide in Section VIII below.

      52.   The commonly referenced scientific basis for affirmative care of both

early life onset and adolescent onset gender dysphoria are two reports from

deVries et al (2011, 2014) that seemingly demonstrated the resolution of gender

dysphoria after a sequence of puberty blocking hormones, cross-sex hormones, and

breast removal or vaginoplasty. However, recently three articles describing the

distinct limitations of the “Dutch Protocol have been widely circulating throughout

the world (Levine et al, 2022; Biggs, 2022, Abbruzzese et al, 2023) It is now

apparent that the basis for such affirmative care is not scientifically solid. Rapid

diffusion of the innovative Dutch Protocol occurred without the scientifically
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required confirmatory more rigorous studies. The one attempt to repeat their

protocol in the UK failed to demonstrate psychological benefits claimed by the

Dutch studies. (Carmichael et al 2021).

      53.   I do not know what proportion of practitioners are using which model.

However, in my opinion, in the case of young children, prompt and thorough

affirmation of a transgender identity disregards the principles of child development

and family dynamics and is not supported by science. Instead of science, this

approach is currently being reinforced by an echo-chamber of approval from other

like-minded child-oriented professionals who do not sufficiently consider the

known negative medical and psychiatric outcomes of trans adults. Rather than

recommend social transition in grade school, the MHP must focus attention on the

child’s underlying internal and familial issues. Ongoing relationships between the

MHP and the parents, and the MHP and the child, are vital to help the parents,

child, other family members, and the MHP to understand over time the issues that

need to be dealt with by each of them.

      54.   Likewise, since the child’s sense of gender develops in interaction

with his parents and their own gender roles and relationships, the responsible

MHP will almost certainly need to delve into family and marital dynamics. This,

however, requires time and effort and for many parents, a challenge to find a

therapist to do such work with them.


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IV.    THERE IS NO CONSENSUS OR AGREED “STANDARD OF CARE”
       CONCERNING THERAPEUTIC APPROACHES TO CHILD OR
       ADOLESCENT GENDER DYSPHORIA.

       55.     There is far too little firm clinical evidence in this field to permit any

evidence-based standard of care. Given the lack of scientific evidence, it is

neither surprising nor improper that—as I detailed in Section II—there is a

diversity of views among practitioners as to as to the best therapeutic response for

the child, adolescent, or young adult who suffers from gender dysphoria.

       56.     Reviewing the state of opinion and practice in 2021, the Royal

Australian and New Zealand College of Psychiatrists observed that “There are

polarised views and mixed evidence regarding treatment options for people

presenting with gender identity concerns, especially children and young

people.” (RANZCP, 2021.) Similarly, a few years earlier prominent Dutch

researchers noted: “[T]here is currently no general consensus about the best

approach to dealing with the (uncertain) future development of children with

GD, and making decisions that may influence the function and/or development

of the child — such as social transition.” (Ristori & Steensma 2016 at 18.) 2 In

this Section, I comment on some of the more important areas of disagreement

within the field.




       2
         See also Zucker 2020 which questions the merit of social transition as a first-line
treatment.
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      A.     Experts and organizations disagree as to whether “distress” is a
             necessary element for diagnoses that justifies treatment for
             gender identity issues.

      57.    As outlined in Section II.B above, “clinically significant distress” is

one of the criteria used in DSM-5 to identify gender dysphoria. This indicates a

heightened level of distress that rises beyond a threshold level of social

awkwardness or discomfort with the changing body. It is known that many trans-

identified youth with incongruence between their sexed bodies and their gender

identity choose not to take hormones; their incongruence is quite tolerable as they

further clarify their sexual identity elements. This population raises the questions of

what distress is being measured when DSM-5-TR criteria are met and what else

might be done about it.

      58.    I note that there is no “clinically significant distress” requirement in

World Health Organization’s International Classification of Diseases (ICD-11)

criteria for gender incongruence, which rather indicates “a marked and persistent

incongruence between an individual´s experienced gender and the assigned sex.”

(World Health Organization 2019.)

      59.    Therefore, even between these two committee-based authorities,

there is a significant disagreement as to what constitutes a gender condition

justifying life-changing interventions. To my knowledge, some American gender

clinics and practitioners are essentially operating under the ICD-11 criteria rather

than the    DSM-5-TR criteria, prescribing transition for children, hormonal
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interventions for slightly older children, and different hormones for adolescents

who assert a desire for a transgender identity whether or not they are exhibiting

“clinically significant distress.” Others adhere to the DSM-5 diagnostic standard.

      60.    It is ironic that affirmative care is said by advocates to be life

enhancing and often to be lifesaving because of the risk of suicide. Based on the

DSM-5-TR criterion, distress is required for the diagnosis and its subsequent

hormonal and surgical treatments. Gender incongruence is often referred to as a

unique form of suffering. Yet, ICD-11 the criteria for the diagnosis of Gender

Incongruence do not require distress, just the wish to have the characteristics of

the other sex and to change their own sex demarcating features. It seems that as

the field moves on in time, the emphasis is on desire rather than distress, pain, or

suffering.

      61.    I will add that even from within one “school of thought,” it is not

responsible to make a single, categorical statement about the proper treatment of

children or adolescents presenting with gender dysphoria or other gender-related

issues. There is no single pathway to the development of a trans identity and no

reasonably uniform short- or long-term outcome of medically treating it. As

individuals grow physically, mature psychologically, and experience or fail to

experience satisfying romantic relationships, their life course depends on their

differing psychological, social, familial, and life experiences. There should be no

trust in assertions that trans identified youth must be treated in a particular manner
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to avoid harm for two reasons: first, there is no systematic data on the nature of,

and the rate of harms of either affirmative treatment, no treatment, or

psychological only treatment. Second, as in other youthful psychiatric and other

challenges, outcomes vary.

      B.     Opinions and practices vary widely about the utilization of
             social transition for children and adolescents.

      62.    The     World Professional Association for Transgender Health

(WPATH) has published a guidance document under the title of “standards of

care.” Below, I will provide some explanation of WPATH and its “Standards of

Care,” which are not the product of a strictly scientific organization, and are by no

means accepted by all or even most practitioners as setting out best practices.

      63.    Here, however, I will note that WPATH does not take a position

concerning whether or when social transition may be appropriate for pre-

pubertal children. Instead, the WPATH “Standards of Care version 7” states

that the question of social transition for children is a “controversial issue” and

calls for mental health professionals to support families in what it describes as

“difficult decisions” concerning social transition. Its version 8, however, no

longer uses the word “controversial” even though it extensively discusses the

dangers of harms versus the possibility of benefits of early transition

(Coleman et al, 2022).

      64.    Dr. Erica Anderson is a prominent practitioner in this area who

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identifies as a transgender woman, who was the first transgender president of

USPATH, and who is a former board member of WPATH. Dr. Anderson recently

resigned from those organizations and has condemned automatic approval of

transition upon the request of a child or adolescent, noting that “adolescents . . . are

notoriously susceptible to peer influence,” that transition “doesn’t cure depression,

doesn’t cure anxiety disorders, doesn’t cure autism-spectrum disorder, doesn’t cure

ADHD,” and instead that “a comprehensive biopsychosocial evaluation” should

proceed allowing a child to transition. (Davis 2022.) And as I have explained

previously, my own view based on 50 years of experience in this area favors strong

caution before approving life-altering interventions such as social transition,

puberty blockers, or cross-sex hormones.

      C.     The WPATH “Standards of Care” is not an impartial or
             evidence-based document.

      65.    Because WPATH is frequently cited by advocates of social,

hormonal, and surgical transition, I provide some context concerning that

private organization and its “Standards of Care.”

      66.    I was a member of the Harry Benjamin International Gender

Dysphoria Association from 1974 until 2001. From 1997 through 1998, I served

as the Chairman of the eight-person International Standards of Care Committee

that issued the fifth version of the Standards of Care. I resigned my membership

in 2002 due to my regretful conclusion that the organization and its

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recommendations had become dominated by politics and ideology, rather than

by scientific process, as it was years earlier. In approximately 2007, the Harry

Benjamin International Gender Dysphoria Association changed its name to the

World Professional Association for Transgender Health (WPATH).

      67.    WPATH is a voluntary membership organization. Since at least 2002,

attendance at its biennial meetings has been open to trans individuals who are not

licensed professionals. While this ensures taking patients’ needs into

consideration, it limits the ability for honest and scientific debate, and means that

WPATH can no longer be considered a purely professional organization.

      68.    WPATH takes a decided view on issues as to which there is a wide

range of opinion among professionals. WPATH explicitly views itself as not

merely a scientific organization, but also as an advocacy organization. (Levine

2016 at 240.) WPATH is supportive to those who want sex reassignment surgery

(“SRS”). Skepticism as to the benefits of SRS to patients, and strong alternate

views, are not well tolerated in discussions within the organization or their

educational outreach programs. Such views have been known to be shouted down

and effectively silenced by the large numbers of nonprofessional adults who attend

the organization’s biennial meetings. Two groups of individuals that I regularly

work with have attended recent and separate WPATH continuing education

sessions. There, questions about alternative approaches were quickly dismissed

with “There are none. This is how it is done.” Such a response does not accurately
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reflect what is known, what is unknown, and the diversity of clinical approaches in

this complex field.

        69.   The reviews of WPATH’s 7th edition of standards of care published in

2021 by Dahlen et al and Sapir in 2022 have clarified the low quality, low

reliability, and bias inherent in its recommendations. (Dahlen et al 2022) Its 8th

edition, which is three times the length of the 7th, has not gained additional

confidence in its scientific merit. The Standards of Care (“SOC”) document is the

product of an effort to be balanced, but it is not politically neutral. WPATH aspires

to be both a scientific organization and an advocacy group for the transgendered. It

articulates policy. These aspirations sometimes conflict. The limitations of the

Standards of Care, however, are not primarily political. They are caused by the lack

of rigorous research in the field, which allows room for passionate convictions on

how to care for the transgendered. And, of course, once individuals have socially,

medically, and surgically transitioned, WPATH members and the trans people

themselves at the meetings are committed to supporting others in their transitions.

Not only have some trans participants been distrustful or hostile to those who

question the wisdom of these interventions, their presence makes it difficult for

professionals to raise their concerns. Vocal trans rights advocates have a worrisome

track    record   of   attacking   those   who   have   alternative   views.   (Dreger

2015.McNamarra et al 2022) .

        70.   In recent years, WPATH has fully adopted some mix of the medical
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and civil rights paradigms. It has downgraded the role of counseling or

psychotherapy as a requirement for these life-changing processes. WPATH no

longer considers preoperative psychotherapy to be a requirement. It is important to

WPATH that the person has gender dysphoria; the pathway to the development of

this state is not. (Levine 2016 at 240.) The trans person is assumed to have

thoughtfully considered his or her options before seeking hormones, for instance.

In actual practice, that thoughtful person may be as young as age 11!

      71.   Most psychiatrists and psychologists who treat patients suffering

sufficiently severe distress from gender dysphoria to seek inpatient psychiatric

care are not members of WPATH. Many psychiatrists, psychologists, and

pediatricians who treat some patients suffering gender dysphoria on an outpatient

basis are not members of WPATH. WPATH represents a self- selected subset of

the profession along with its many non-professional members; it does not capture

the clinical experiences of others. WPATH claims to speak for the medical

profession; however, it does not welcome skepticism and therefore, deviates from

the philosophical core of medical science. There are pediatricians, psychiatrists,

endocrinologists, and surgeons who object strongly, on professional grounds, to

transitioning children and providing affirmation in a transgender identity as the

first treatment option. WPATH does not speak for all of the medical profession.

      72.   In 2010 the WPATH Board of Directors issued a statement advocating

that incongruence between sex and felt gender identity should cease to be
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identified in the DSM as a pathology.3 This position was debated but not adopted

by the (much larger) American Psychiatric Association, which maintained the

definitions and diagnoses of gender dysphoria as a pathology in the DSM-5 manual

issued in 2013.

       73.    In my experience some current members of WPATH have little

ongoing experience with the mentally ill, and many trans care facilities are staffed

by MHPs who are not deeply experienced with recognizing and treating frequently

associated psychiatric co- morbidities. Further, being a mental health professional,

per se, does not guarantee experience and skill in recognizing and effectively

intervening in serious or subtle patterns. Because the 7th version of the WPATH

SOC deleted the requirement for therapy, trans care facilities that consider these

Standards sufficient are permitting patients to be counseled to transition by means

of social presentation, hormones, and surgery by individuals with masters rather

than medical degrees. The 8th version of the SOC continues this tradition. When

this document recommends a comprehensive psychiatric evaluation, it fails to

elaborate its duration, the topics to be covered, and necessary treatment results of

the commonly found previous and co-current psychiatric conditions.




3
  WPATH De-Psychopathologisation Statement (May 26, 2010), available at wpath.org/policies
(last accessed January 21, 2020).

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      D.     Opinions and practices differ widely with respect to the
             proper role of psychological counseling before, as part of, or
             after a diagnosis of gender dysphoria.

      74.    In Version 7 of its Standards of Care, released in 2012, WPATH

downgraded the role of counseling or psychotherapy, and the organization no

longer sees psychotherapy without transition and hormonal interventions as a

potential path to eliminate gender dysphoria by enabling a patient to return to or

achieve comfort with the gender identity aligned with his or her biology. Around

the world, many prominent voices and practitioners disagree. For example,

renowned gender therapists Dr. Laura Edwards-Leeper and Dr. Erica Anderson

(who, as mentioned above, identifies as a transgender woman) have recently

spoken out arguing that children and adolescents are being subjected to puberty

blockers and hormonal intervention far too quickly, when careful and extended

psychotherapy and investigation for potential causes of feelings of dysphoria

(such as prior sexual abuse) should be the first port of call and might resolve the

dysphoria. (Edwards-Leeper & Anderson 2021; Davis 2022.)

      75.    In a recently published position statement on gender dysphoria, the

Royal Australian and New Zealand College of Psychiatrists emphasized the

critical nature of mental health treatment for gender dysphoric minors, stressing

“the importance of the psychiatrist’s role to undertake thorough assessment and

evidence-based treatment ideally as part of a multidisciplinary team, especially

highlighting co-existing issues which may need addressing and treating.” The
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Royal College also emphasized the importance of assessing the “psychological

state and context in which Gender Dysphoria has arisen,” before any treatment

decisions are made. (RANZCP, 2021.)

      76.   Dr. Paul Hruz of the University of Washington St. Louis Medical

School has noted, “The WPATH has rejected psychological counseling as a viable

means to address sex– gender discordance with the claim that this approach has

been proven to be unsuccessful and is harmful (Coleman et al. 2012). Yet the

evidence cited to support this assertion, mostly from case reports published over

forty years ago, includes data showing patients who benefited from this approach

(Cohen-Kettenis and Kuiper 1984).” (Hruz 2020.)

      77.   In several recent publications, my colleagues and I have demonstrated

that both the Endocrine Society’s and WPATH’s citations for the scientific basis

of affirmative care of adolescents reference the same two Dutch studies. We

have demonstrated in considerable details the limitations of these studies, their

lack of applicability to today’s transgendered youth, and the dangers of following

therapeutic fashion rather than evidence-based medicine (Levine et al, 2022;

Abbruzzese et al, 2023).

      E.    Opinions and practices vary widely with respect to the
            administration of puberty blockers and cross-sex hormones.

      78.   There is likewise no broadly accepted standard of care with respect to

use of puberty blockers. The WPATH Standards of Care explicitly recognize the

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lack of any consensus on this important point, stating: “Among adolescents who

are referred to gender identity clinics, the number considered eligible for early

medical treatment—starting with GnRH analogues to suppress puberty in the first

Tanner stages—differs among countries and centers. Not all clinics offer puberty

suppression. . . The percentages of treated adolescents are likely influenced by the

organization of health care, insurance aspects, cultural differences, opinions of

health professionals, and diagnostic procedures offered in different settings.”

      79.    The use of puberty blockers as a therapeutic intervention for gender

dysphoria is often justified by reference to the seminal work of a respected Dutch

research team that developed a protocol that administered puberty blockers to

children no younger than age 14. However, it is well known that many clinics in

North America now administer puberty blockers to children at much younger ages

than the “Dutch Protocol” allows. (Zucker 2019.) The Dutch protocol only treated

children with these characteristics: a stable cross gender identity from early

childhood; dysphoria that worsened with the onset of puberty; were otherwise

psychologically healthy; had healthy families; the patient and family agreed to

individual and family counselling throughout the protocol. But the experience and

results of the Dutch model is being used as a justification for giving puberty

blockers to children who differ considerably from these criteria. Its authors have

also recently noted this fact (de Vries 2020).


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      80.    However, Zucker notes that “it is well known” that clinicians are

administering cross-sex hormones, and approving surgery, at ages lower than the

minimum age thresholds set by that “Dutch Protocol.” (Zucker 2019 at 5.)

      81.    Similarly, at least one prominent clinic—that of Dr. Safer at

Columbia’s Mt. Sinai Medical Center—is quite openly admitting patients for even

surgical transition who are not eligible under the criteria set out in WPATH’s

Standards of Care. A recent study published by Dr. Safer and colleagues revealed

that of a sample of 139 individuals, 45% were eligible for surgery “immediately”

under the center’s own criteria, while only 15% were eligible under WPATH’s

criteria. That is, three times as many patients immediately qualified for surgery

under the center’s loose standards than would have qualified under WPATH

criteria. (Lichenstein et al. 2020.)

      82.    Internationally, there has been a recent marked trend against use of

puberty blockers, as a result of extensive evidence reviews by national medical

bodies, which I discuss later. The main gender clinic in Sweden has declared that

it will no longer authorize use of puberty blockers for minors below the age of

16. Finland has similarly reversed its course, issuing new guidelines that allow

puberty blockers only on a case-by-case basis after an extensive psychiatric

assessment. A landmark legal challenge against the UK’s National Health Service

in 2020 by “detransitioner” Keira Bell led to the suspension of the use of puberty

blockers and new procedures to ensure better psychological care, as well as
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 prompting a thorough evidence review by the National Institute for Health and

 Care Excellence (NICE 2021a; NICE 2021b).4 That review in 2022 reorganized

 trans adolescent care throughout the UK and emphasized the need to focus on the

 patients’ psychological state rather than treat first the gender incongruence.

 Puberty blockers are not to be initially employed.

        83.    In this country, some voices in the field are now publicly

 arguing that no comprehensive mental health assessment at all should be

 required before putting teens on puberty blockers or cross-sex hormones

 (Ghorayshi 2022), while Dr. Anderson and Dr. Edwards-Leeper argue that

 U.S. practitioners are already moving too quickly to hormonal interventions.

 (Edwards-Leeper & Anderson 2021; Davis 2022.) It is evident that opinions

 and practices are all over the map.

       1.     In 2018, committee of the American Academy of Pediatricians issued a

policy statement supporting administration of puberty blockers to children diagnosed

with gender dysphoria. No other American medical association has endorsed the use

of puberty blockers.       Pediatricians are neither endocrinologists nor psychiatrists.

Many pediatricians were horrified by the recommendation.                     Dr. James Cantor

published a peer-reviewed paper detailing that the Academy’s statement was not


        4
          The decision requiring court approval for administration of hormones to any person
 younger than age 16 was later reversed on procedural grounds by the Court of Appeal and is
 currently under consideration by the UK Supreme Court.

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evidence- based and misdescribed the few scientific sources it did reference. (Cantor

2019.) It has been well noted in the field that the AAP has declined invitations to

publish any rebuttal to Dr. Cantor’s analysis. But this is all part of ongoing debate,

simply highlighting the absence of any generally agreed standard of care. In 2022, the

same committee of the AAP modified their recommendation supporting alternative

treatments but still held out that affirmative care is still a viable option. Evidence after

all is required for policy decisions and the 2018 evidence base is now widely

appreciated as insubstantial.

       84.    The 2017 Endocrine Society Guidelines themselves expressly state

 that they are not “standards of care.” The document states: “The guidelines cannot

 guarantee any specific outcome, nor do they establish a standard of care. The

 guidelines are not intended to dictate the treatment of a particular patient.”

 (Hembree et al. 2017 at 3895 (emphasis added).) Nor do the Guidelines claim to

 be the result of a rigorous scientific process. Rather, they expressly advise that

 their recommendations concerning use of puberty blockers are based only on “low

 quality” evidence.

       85.    The 2017 Guidelines assert that patients with gender dysphoria often

 must be treated with “a safe and effective hormone regimen. . .” Notably,

 however, the Guidelines do not make any firm statement that use of puberty

 blockers for this purpose is safe, and the Guidelines go no further than

 “suggest[ing]” use of puberty blockers—language the Guidelines warn represents
                                            44
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only a “weak recommendation.” (Hembree 2017 at 3872.) Several authors have

pointed out that not only were the Endocrine Society suggestions regarding use of

puberty blockers reached on the basis of “low quality” evidence, but its not-quite

claims of ‘safety’ and ‘efficacy’ are starkly contradicted by several in-depth

evidence reviews. (Laidlaw et al., 2019; Malone et al. 2021.) The most recent

systematic independent review of hormonal treatment of adolescents reaffiremed the

poor quality of evidence making their use questionionalble (Brignardello-Peterson,

& Wiercioch     2022). I detail these contradictory findings in more detail in

Section VII below.

      86.    While there is too little meaningful clinical data and no consensus

concerning best practices or a “standard of care” this area, there are long-standing

ethical principles that do or should bind all medical and mental health

professionals as they work with, counsel, and prescribe for these individuals.

      87.    One of the oldest and most fundamental principles guiding medical

and psychological care—part of the Hippocratic Oath—is that the physician must

“do no harm.” This states an ethical responsibility that cannot be delegated to the

patient. Physicians themselves must weigh the risks of treatment against the harm

of not treating. If the risks of treatment outweigh the benefits, principles of

medical ethics prohibit the treatment.

V.    TRANSGENDER IDENTITY IS NOT BIOLOGICALLY BASED.


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      88.    There is no medical consensus that transgender identity has any

biological basis. Furthermore, there is considerable well-documented evidence

that is inconsistent with the hypothesis of a biological basis for gender

identity—at least in the large majority of currently-presenting patients.

      A.     No theory of biological basis has been scientifically validated.

      89.    At the outset, the attempt to identify a single, biological cause for

psychiatric conditions (including gender dysphoria) has been strongly criticized

as “out of step with the rest of medicine” and as a lingering “ghost” of an

understanding of the nature of psychiatric conditions that is now broadly

disproven. (Kendler 2019 at 1088-1089.) Gender dysphoria is defined and

diagnosed only as a psychiatric, not a medical, condition. Courts need to have

clarified that just because some physicians use medication and surgery to treat

gender dysphoria does not make it a “medical condition” or that the

psychological identity has been determined by a biological mechanism.

      90.    While some have pointed to very small brain scan studies as evidence

of a biological basis, no studies of brain structure of individuals identifying as

transgender have found any statistically significant correlation between any distinct

structure or pattern and transgender identification, after controlling for sexual

orientation and exposure to exogenous hormones. (Sarawat et al. 2015 at 202;

Frigerio et al. 2021.)

      91.    Indeed, the Endocrine Society 2017 Guidelines recognizes: “With
                                      46
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current knowledge, we cannot predict the psychosexual outcome for any specific

child” and “there are currently no criteria to identify the GD/gender-incongruent

children to whom this applies. At the present time, clinical experience suggests

that persistence of GD/gender incongruence can only be reliably assessed after the

first signs of puberty.” (Hembree et al. 2017 at 3876.)

       92.   In short, no biological test or measurement has been identified that

provides any ability to predict which children will exhibit, and which children will

persist in, gender dysphoria or a transgender identification. Unless and until such a

test is identified, the theory of a biological basis is a hypothesis still searching for

support. A hypothesis is not a fact, and responsible scientists will not confuse the

two.

       B.    Large changes across time and geography in the epidemiology of
             transgender identification are inconsistent with the hypothesis of
             a biological basis for transgender identity.

       93.   In fact, there is substantial evidence that the “biological basis” theory

is incorrect, at least with respect to the large majority of patients presenting with

gender dysphoria today.

       94.   Vast changes in incidence: Historically, there were very low reported

rates of gender dysphoria or transgender identification. In 2013, the DSM-5

estimated the incidence of gender dysphoria in adults to be at 2-14 per 100,000, or

between 0.002% and 0.014%. (APA 2013 at 454.) Recently however, these

numbers have increased dramatically, particularly in adolescent populations.
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Recent surveys estimate that between 2-9% of high school students self- identify as

transgender or “gender non-conforming.” with a significantly large increase in

adolescents claiming “nonbinary” gender identity as well. (Johns et al. 2019; Kidd

et al. 2021.) Consistent with these surveys, gender clinics around the world have

seen numbers of referrals increase rapidly in the last decade, with the Tavistock

clinic in London seeing a 30-fold increase in the last decade (GIDS 2019), and

similar increases being observed in Finland (Kaltiala-Heino et al. 2018), the

Netherlands (de Vries 2020), and Canada (Zucker 2019). The rapid change in the

number of individuals experiencing gender dysphoria points to social and cultural,

not biological, causes.

      95.    Large change in sex ratio: In recent years there has been a marked

shift in the sex ratio of patients presenting with gender dysphoria or transgender

identification. The Tavistock clinic in London saw a ratio of 4 biological

females(F):5 biological males(M) shift to essentially 11F:4M in a decade. (GIDS

2019.) One researcher summarizing multiple sources documented a swing of

1F:2M or 1F:1.4M through 2005 to 2F:1M generally (but as high as 7F:1M) in

more recent samples. (Zucker 2019 at 2.) This phenomenon has been noted by Dr.

Erica Anderson, who said: “The data are very clear that adolescent girls are

coming to gender clinics in greater proportion than adolescent boys. And this is a

change in the last couple of years. And it’s an open question: What do we make of

that? We don’t really know what’s going on. And we should be concerned about
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it.” (Davis 2022.) Again, this large and rapid change in who is experiencing

gender dysphoria points to social, not biological, causes.

       96.    Clustering: Dr. Littman’s recent study documented “clustering” of

new presentations of gender dysphoria among natal females in specific schools

and among specific friend groups. This again points strongly to social causes for

gender dysphoria at least among the adolescent female population. (Littman 2018.)

       97.    Desistance: As I discuss later, there are very high levels of

desistance among children diagnosed with gender dysphoria, as well as

increasing (or at least increasingly vocal) numbers of individuals who first

asserted a transgender identity during or after adolescence, underwent substantial

medical interventions to “affirm” that trans-identity, and then “desisted” and

reverted to a gender identity congruent with their sex. (See Section V.B below.)

These narratives, too, point to a social and/or psychological cause, rather than a

biological one.

       98.    “Fluid” gender identification: Advocates and some practitioners

assert that gender identity is not binary but can span an almost endless range of

gender identity self-labels, which a given individual may try on, inhabit, and often

discard. (A recent article identifies 72.5) I have not heard any theory offered for

how there is or could be a biological basis for gender identity as now expansively


5
 Allarakha, What Are the 72 Other Genders?, MedicineNet, available at:
https://www.medicinenet.com/what_are_the_72_other_genders/article.html
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defined.

      99.    I frequently read attempts to explain away the points in this Section

V. They include: these problems always existed, but children are now learning that

there are effective treatments for their dilemma and are simply seeking them. And

children have hidden their trans identity throughout childhood and now that trans

people are recognized and accepted, they are presenting themselves. And now

pediatricians realize that girls can have gender dysphoria and are referring them to

gender clinics. But these are all mere hypotheses unsupported by concrete

evidence. One set of unproven hypotheses cannot provide support for the unproven

hypothesis of biological basis. And none of these hypotheses could even

potentially explain the failure of science thus far to identify any predictive

biological marker of transgender identification.

      100. Therapies affect gender identity outcomes: Finally, the evidence

shows that therapeutic choices can have a powerful effect on whether and how

gender identity does change, or gender dysphoria desists. Social transition of

juveniles, for instance, strongly influences gender identity outcomes to such an

extent that it has been described a “unique predictor of

persistence.” (See Section VI.B below.) Again, this observation cuts against the

hypothesis of biological origin.




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      C.     Disorders of sexual development (or DSDs) and gender
             identity are very different phenomena, and it is an error to
             conflate the two.

      101. Some have pointed individuals who suffer from disorders of sexual

development (DSDs) as evidence that sex is not binary or clearly defined, or as

somehow supporting the idea that transgender identification has a biological basis.

I have extensively detailed that sex is clear, binary, and determined at conception.

(Section III.) Here I explain that gender dysphoria is an entirely different

phenomenon than DSDs—which unlike transgender identity are indeed biological

phenomena. It is an error to conflate the two distinct concepts.

      102. Every DSD reflects a genetic enzymatic defect with negative

anatomic and physiological consequences. As the Endocrine Society recognized

in a 2021 statement: “Given the complexities of the biology of sexual

determination and differentiation, it is not surprising that there are dozens of

examples of variations or errors in these pathways associated with genetic

mutations that are now well known to endocrinologists and geneticists; in

medicine, these situations are generally termed disorders of sexual development

(DSD) or differences in sexual development.” Gender Identity on the other hand

is uniformly defined as a subjective “sense” of being, a feeling or state of mind.

(Section II.C.)

      103. The vast majority of those who experience gender dysphoria, or a
                                          51
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transgender identity, do not suffer from any DSD, nor from any genetic enzymatic

disorder at all. Conversely, many who suffer from a DSD do not experience a

gender identity different from their chromosomal sex (although some may). In

short, those who suffer from gender dysphoria are not a subset of those who suffer

from a DSD, nor are those who suffer from a DSD a subset of those

who suffer from gender dysphoria. The two are simply different phenomena, one

physical with psychological effects , the other mental with physical effects only if

treated medically or surgically. The issue here is not whether biological forces

play a role in personality development; it is whether there is strong evidence that

it is determinative. Science has come too far to revert to single explanations for

gender dysphoria or any psychiatric diagnosis.

      104. The importance of this distinction is evident from the scientific

literature. For example, in a recent study of clinical outcomes for gender

dysphoric patients, Tavistock Clinic researchers excluded from their analysis any

patients who did not have “normal endocrine function and karyotype consistent

with birth registered sex.” (Carmichael et al. 2021 at 4.) In other words, the

researchers specifically excluded from their study anyone who suffered from

genetic-based DSD, or a DSD comprising any serious defect in hormonal use

pathways, to ensure the study was focused only on individuals experiencing the

psychological effects of what we might call “ordinary” gender dysphoria.


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      D.      Studies of individuals born with DSDs suggest that there may be
              a biological predisposition towards typical gender identifications,
              but provide no support for a biological basis for transgender
              identification.

      105. Studies of individuals born with serious DSDs have been pointed to

as evidence of a biological basis for transgender identification. They provide no

such support.

      106. One well-known study by Meyer-Bahlburg reviewed the case

histories of a number of XY (i.e. biologically male) individuals born with severe

DSDs who were surgically “feminized” in infancy and raised as girls. (Meyer-

Bahlburg 2005.) The majority of these individuals nevertheless later adopted male

gender     identity—suggesting   a   strong   biological   predisposition   towards

identification aligned with genetic sex, even in the face of feminized genitalia

from earliest childhood, and parental “affirmation” in a transgender identity. But

at the same time, the fact that some of these genetically male individuals did not

later adopt male

gender identity serves as evidence that medical and social influences can indeed

encourage and sustain transgender identification.

      107. Importantly, the Meyer-Bahlburg study did not include any

individuals who were assigned a gender identity congruent with their genetic sex

who subsequently adopted a transgender identity. Therefore, the study can provide

no evidence of any kind that supports the hypothesis of a biological basis for

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transgender identity. A second study in this area (Reiner & Gearhart 2004)

likewise considered exclusively XY subjects, and similarly provides evidence only

for a biological bias towards a gender identity congruent with one’s genetic sex,

even in the face of medical and social “transition” interventions. None of this

provides any evidence at all of a biological basis for transgender identity.

VI.      GENDER IDENTITY IS EMPIRICALLY NOT FIXED FOR MANY
         INDIVIDUALS.

         108. There is extensive evidence that gender identity changes over time for

many individuals.6 That evidence is summarized below.

         A.         Most children who experience gender dysphoria ultimately
                    “desist” and resolve to cisgender identification.

         109. A distinctive and critical characteristic of juvenile gender

dysphoria is that multiple studies from separate groups and at different times

have reported that in the large majority of patients, absent a substantial

intervention such as social transition or puberty blocking hormone therapy, it

does not persist through puberty.

         110. A recent article reviewed all existing follow-up studies that the author

could identify of children diagnosed with gender dysphoria (11 studies), and

reported that “every follow-up study of GD children, without exception, found the

same thing: By puberty, the majority of GD children ceased to want to transition.”


6
    See n1 supra.

                                           54
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(Cantor 2019 at 1.) Another author reviewed the existing studies and reported that

in “prepubertal boys with gender discordance . . . the cross gender wishes usually

fade over time and do not persist into adulthood, with only 2.2% to 11.9%

continuing to experience gender discordance.” (Adelson et al. 2012 at 963; see

also Cohen-Kettenis 2008 at 1895.) The Endocrine Society recognized this

important baseline fact in its 2017 Guidelines. (Hembree 2017 at 3879.) It should

be noted that the reason that the Dutch Protocol waited until age 14 to initiate

puberty blockers was that it was well known that many children would desist if

left free of hormonal intervention until that age.

      111. Findings of high levels of desistance among children who

experience gender dysphoria or incongruence have been reaffirmed in the face

of critiques through thorough reanalysis of the underlying data. (Zucker

2018.)

      112. As I explained in detail in Section V above, it is not yet known

how to distinguish those children who will desist from that small minority

whose trans identity will persist.

      113. It does appear that prevailing circumstances during particularly

formative years can have a significant impact on the outcome of a juvenile’s

gender dysphoria. A 2016 study reviewing the follow-up literature noted that “the

period between 10 and 13 years” was “crucial” in that “both persisters and

desisters stated that the changes in their social environment, the anticipated and
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actual feminization or masculinization of their bodies, and the first experiences of

falling in love and sexual attraction in this period, contributed to an increase (in

the persisters) or decrease (in the desisters) of their gender related interests,

behaviors, and feelings of gender discomfort.” (Ristori & Steensma 2016 at 16.)

As I discuss in Section VII below, there is considerable evidence that early

transition and affirmation causes far more children to persist in a transgender

identity.

      B.     Desistance is increasingly observed among teens and young
             adults who first manifest GD during or after adolescence.

      114. Desistance within a relatively short period may also be a common

outcome for post-pubertal youths who exhibit recently described “rapid onset

gender disorder.” I have observed an increasingly vocal online community of

young women who have reclaimed a female identity after claiming a male gender

identity at some point during their teen years, and young “detransitioners”

(individuals in the process of reidentifying with their birth sex after having

undergone a gender transition) are now receiving increasing attention in both

clinical literature and social media channels.

      115. Almost all scientific articles on this topic have appeared within the last
           few years.

Perhaps this historic lack of coverage is not entirely surprising – one academic who

undertook an extensive review of the available scientific literature in 2021 noted

that the phenomenon was “socially controversial” in that it “poses significant
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professional and bioethical challenges for those clinicians working in the field of

gender dysphoria.” (Expósito Campos 2021 at 270.) This review reported on the

multiple reasons for why individuals were motivated to detransition, which

included coming to “understand[ ] how past trauma, internalized sexism, and other

psychological difficulties influenced the experience of GD.”

      116. In 2021, Lisa Littman of Brown University conducted a ground-

breaking study of 100 teenage and young adults who had transitioned and lived in

a transgender identity for a number of years, and then “detransitioned” or changed

back to a gender identity matching their sex. Littman noted that the “visibility of

individuals who have detransitioned is new and may be rapidly growing.”

(Littman 2021 at 1.) Of the 100 detransitioners included in Littman’s study, 60%

reported that their decision to detransition was motivated (at least in part) by the

fact that they had become more comfortable identifying as their natal sex, and

38% had concluded that their gender dysphoria was caused by something specific

such as trauma, abuse, or a mental health condition. (Littman 2021 at 9.)

      117. A significant majority (76%) did not inform their clinicians of their

detransition. (Littman 2021 at 11.)

      118. A similar study that recruited a sample of 237 detransitioners (the

large majority of whom had initially transitioned in their teens or early twenties)

similarly reported that a common reason for detransitioning was the subject’s


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conclusion that his or her gender dysphoria was related to other issues (70% of the

sample). (Vandenbussche 2021.)

      119. The existence of increasing numbers of youth or young adult

detransitioners has also been recently noted by Dr. Edwards-Leeper and Dr.

Anderson. (Edwards-Leeper & Anderson 2021.) Edwards-Leeper and Anderson

noted “the rising number of detransitioners that clinicians report seeing (they are

forming support groups online)” which are “typically youth who experienced

gender dysphoria and other complex mental health issues, rushed to medicalize

their bodies and regretted it.” Other clinicians working with detransitioners have

also noted the recent phenomenon. (Marchiano 2020.)

      120. A growing body of evidence suggests that for many teens and young

adults, a post-pubertal onset of transgender identification can be a transient phase

of identity exploration, rather than a permanent identity, as evidenced by a

growing number of young detransitioners (Entwistle 2020; Littman 2021;

Vandenbussche 2021). Previously, the rate of detransition and regret was reported

to be very low, although these estimates suffered from significant limitations and

were likely undercounting true regret (D’Angelo 2018). As gender-affirmative

care has become popularized, the rate of detransition appears to be accelerating.

      121. A recent study from a UK adult gender clinic observed that 6.9% of

those treated with gender-affirmative interventions detransitioned within 16

months, and another 3.4% had a pattern of care suggestive of detransition, yielding
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a rate of probable detransition in excess of 10%. Another 21.7%, however,

disengaged from the clinic without completing their treatment plan. While some of

these individuals later re-engaged with the gender service, the authors concluded,

“detransitioning might be more frequent than previously reported.” (Hall et al.

2021).

      122. Another study from a UK primary care practice found that 12.2% of

those who had started hormonal treatments either detransitioned or documented

regret, while the total of 20% stopped the treatments for a wider range of reasons.

The mean age of their presentation with gender dysphoria was 20, and the patients

had been taking gender-affirming hormones for an average 5 years (17 months-10

years) prior to discontinuing. Comparing these much higher rates of treatment

discontinuation and detransition to the significantly lower rates reported by the

older studies, the researchers noted: “Thus, the detransition rate found in this

population is novel and questions may be raised about the phenomenon of

overdiagnosis, overtreatment, or iatrogenic harm as found in other medical fields”

(Boyd et al. 2022 at 15.) Indeed, given that regret may take up to 8-11 years to

materialize (Dhejne et al., 2014; Wiepjes et al., 2018), many more detransitioners

are likely to emerge in the coming years. Detransitioner research is still in its

infancy, but the Littman and Vandenbussche studies in 2021 both report that

detransitioners from the recently transitioning cohorts feel they were rushed into

medical gender-affirmative interventions with irreversible effects, often without
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the benefit of appropriate, or in some instances any, psychologic exploration.

VII. TRANSITION AND    AFFIRMATION ARE  IMPORTANT
     PSYCHOLOGICAL AND MEDICAL INTERVENTIONS THAT
     CHANGE GENDER IDENTITY OUTCOMES.

      A.     If both a typical gender or a transgender long-term gender
             identity outcome are possible for a particular patient, the
             alternatives are not medically neutral.

      123. Where a juvenile experiences gender dysphoria, the gender

identity that is stabilized will have a significant impact on the course of their

life. Living in a transgender identity for a time will make desistance, if it is ever

considered, more difficult to accomplish.

      124. If the juvenile desists from the gender dysphoria and becomes

reasonably comfortable with a gender identity congruent with their sex—the

most likely outcome from a statistical perspective absent affirming

intervention—the child will not require ongoing pharmaceutical maintenance

and will not have their fertility destroyed post-puberty.

      125. However, if the juvenile persists in a transgender identity, under

current practices, the child is most likely to require regular administration of

hormones for the rest of their lives, exposing them to significant physical, mental

health, and relational risks (which I detail in Section IX below), as well as being

irreversibly sterilized chemically and/or surgically. The child is therefore rendered

a “patient for life” with complex medical implications further to a scientifically


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unproven course of treatment.

      B.     Social transition of young children is a powerful
             psychotherapeutic intervention that radically changes outcomes,
             almost eliminating desistance.

      126. Social transition has a critical effect on the persistence of gender

dysphoria. It is evident from the scientific literature that engaging in therapy that

encourages social transition before or during puberty—which would include

participation on athletic teams designated for the opposite sex—is a

psychotherapeutic intervention that dramatically changes outcomes. A prominent

group of authors has written that “The gender identity affirmed during puberty

appears to predict the gender identity that will persist into adulthood.” (Guss et al.

2015 at 421.) Similarly, a comparison of recent and older studies suggests that

when an “affirming” methodology is used with children, a substantial proportion of

children who would otherwise have desisted by adolescence—that is, achieved

comfort identifying with their natal sex—instead persist in a transgender identity.

(Zucker 2018 at 7.)

      127. Indeed, a review of multiple studies of children treated for gender

dysphoria across the last three decades found that early social transition to living

as the opposite sex severely reduces the likelihood that the child will revert to

identifying with the child’s natal sex, at least in the case of boys. That is, while, as

I review above, studies conducted before the widespread use of social transition

for young children reported desistance rates in the range of 80-98%, a more recent
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 study reported that fewer than 20% of boys who engaged in a partial or complete

 social transition before puberty had desisted when surveyed at age 15 or older.

 (Zucker 2018 at 7 7; Steensma et al. 2013.) 8 Another researcher observed that a

 partial or complete gender social transition prior to puberty “proved to be a unique

 predictor of persistence.” (Singh et al. 2021 at 14.)

           128. Some vocal practitioners of prompt affirmation and social transition

 even proudly claim that essentially no children who come to their clinics

 exhibiting gender dysphoria or cross- gender identification desist in that

 identification and return to a gender identity consistent with their biological sex.9

 This is a very large change as compared to the desistance rates documented apart

 from social transition.

           129. Even voices generally supportive of prompt affirmation and social

 transition are acknowledging a causal connection between social transition and

 this change in outcomes. As the Endocrine Society recognized in its 2017

 Guidelines: “If children have completely socially transitioned, they may have

 great difficulty in returning to the original gender role upon entering puberty. . .

       7
         Zucker found social transition by the child to be strongly correlated with persistence for
natal boys, but not for girls. (Zucker 2018 at 5.)
       8
          Only 2 (3.6%) of 56 of the male desisters observed by Steensma et al. had made a
complete or partial transition prior to puberty, and of the twelve males who made a complete or
partial transition prior to puberty, only two had desisted when surveyed at age 15 or older.
Steensma 2013 at 584.
       9
         See, e.g., Ehrensaft 2015 at 34: “In my own clinical practice . . . of those children who are
carefully assessed as transgender and who are allowed to transition to their affirmed gender, we have
no documentation of a child who has ‘desisted’ and asked to return to his or her assigned gender.”
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[S]ocial transition (in addition to GD/gender incongruence) has been found to

contribute to the likelihood of persistence.” (Hembree et al. 2017 at 3879.) The

fact is that these unproven interventions with the lives of kids and their families

have systematically documented outcomes. Given this observed phenomenon, I

agree with Dr. Ken Zucker who has written that social transition in children must

be considered “a form of psychosocial treatment.” (Zucker 2020 at 1.)

      130. Moreover, as I review below, social transition cannot be considered

or decided alone. Studies show that engaging in social transition starts a juvenile

on a “conveyor belt” path that almost inevitably leads to the administration of

puberty blockers, which in turn almost inevitably leads to the administration of

cross-sex hormones. The emergence of this well- documented path means that the

implications of taking puberty blockers and cross-sex hormones must be taken into

account even where “only” social transition is being considered or requested by

the child or family. As a result, there are a number of important “known risks”

associated with social transition.

      C.     Administration of puberty blockers is a powerful medical
             and psychotherapeutic intervention that radically changes
             outcomes, almost eliminating desistance on the historically
             observed timeline.

      131. It should be understood that puberty blockers are usually

administered to early-stage adolescents as part of a path that includes social

transition. Yet medicine does not know what the long- term health effects on

                                         63
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bone, brain, and other organs are of a “pause” between ages 11-16. Medicine

also does not know if the long-term effects of these compounds are different

in boys than in girls. The mental health professional establishment likewise

does not know the long-term effects on coping skills, interpersonal comfort,

and intimate relationships of this “pause” while one’s peers are undergoing

their maturational gains in these vital arenas of future mental health. I address

medical, social, and mental health risks associated with the use of puberty

blockers in Section X. Here, I note that the data strongly suggests that the

administration of puberty blockers, too, must be considered to be a

component of a “psychosocial treatment” with complex implications, rather

than simply a “pause.”

       132. Multiple studies show that the large majority of children who

begin puberty blockers go on to receive cross-sex hormones. (de Vries 2020

at 2.) A recent study by the Tavistock and Portman NHS Gender Identity

Development Service (UK)—the world’s largest gender clinic—found that

98% of adolescents who underwent puberty suppression continued on to

cross-sex hormones. (Carmichael et al 2021 at 12.)10

       133. These studies demonstrate that going on puberty blockers virtually

eliminates the possibility of desistance in juveniles. Rather than a “pause,” puberty

       10
          See also Brik 2020 where Dutch researchers found nearly 97% of adolescents who
received puberty blockers proceeded to cross-sex hormones.

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blockers appear to act as a psychosocial “switch,” decisively shifting many

children to a persistent transgender identity. Therefore, as a practical and ethical

matter the decision to put a child on puberty blockers must be considered as the

equivalent of a decision to put that child on cross-sex hormones, with all the

considerations and informed consent obligations implicit in that decision.

VIII. TRANSITION AND AFFIRMATION ARE EXPERIMENTAL
      THERAPIES THAT HAVE NOT BEEN SHOWN TO IMPROVE
      MENTAL OR PHYSICAL HEALTH OUTCOMES BY YOUNG
      ADULTHOOD.

      134. It is undisputed that children and adolescents who present with

gender dysphoria exhibit a very high level of mental health comorbidities.

(Section III.C.) Whether the gender dysphoria is cause or effect of other

diagnosed or undiagnosed mental health conditions, or whether these are merely

coincident comorbidities, is hotly disputed, but the basic fact is not.

      135. It is important for all sides to admit that the knowledge base

concerning the causes and treatment of gender dysphoria has low scientific quality.

In evaluating claims of scientific or medical knowledge, it is axiomatic in science

that no knowledge is absolute, and to recognize the widely accepted hierarchy of

reliability when it comes to “knowledge” about medical or psychiatric phenomena

and treatments. Unfortunately, in this field opinion is too often confused with

knowledge, rather than clearly locating what exactly is scientifically known. In

order of increasing confidence, such “knowledge” may be based upon data

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comprising:

              a. Expert opinion—it is perhaps surprising to educated laypersons

      that expert opinion standing alone is the lowest form of knowledge, the

      least likely to be proven correct in the future. Reliance on a well-known, or

      well-credentialled “experts” or head of a gender clinic is sometimes

      referred to as eminence-based medicine. Their opinions do not garner as

      much respect from professionals as what follows;

              b. A single case or series of cases (what could be called anecdotal

      evidence) (Levine 2016 at 239.);

              c. A series of cases with a control group;

              d. A cohort study;

              e. A randomized double-blind clinical trial;

              f. A review of multiple trials;

              g. A meta-analysis of multiple trials that maximizes the number

      of patients treated despite their methodological differences to detect

      trends from larger data sets.

      136. Prominent voices in the field have emphasized the severe lack of

scientific knowledge in this field. The American Academy of Child and

Adolescent Psychiatry has recognized that “Different clinical approaches have

been advocated for childhood gender discordance. . . . There have been no

randomized controlled trials of any treatment       [T]he proposed     benefits     of
                                          66
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treatment to eliminate gender discordance … must be carefully weighed against

… possible deleterious effects.” (Adelson et al. at 968–69.) Similarly, the

American Psychological Association has stated, “because no approach to working

with [transgender and gender nonconforming] children has been adequately,

empirically validated, consensus does not exist regarding best practice with pre-

pubertal children.” (APA 2015 at 842.)

      137. Critically, “there are no randomized control trials with regard to

treatment of children with gender dysphoria.” (Zucker 2018 at 8.) On numerous

critical questions relating to cause, developmental path if untreated, and the effect

of alternative treatments, the knowledge base remains primarily at the level of the

practitioner’s exposure to individual cases, or multiple individual cases. As a

result, claims to certainty are not justifiable. (Levine 2016 at 239.)

      138. Within the last two years, at least four formal, independent,

systematic evidence reviews concerning hormonal interventions for gender

dysphoria have been conducted. All four found all of the available clinical

evidence to be very low quality.

      139. The British National Health Service (NHS) commissioned formal

“evidence reviews” of all clinical papers concerning the efficacy and safety of

puberty blockers and cross- sex hormones as treatments for gender dysphoria.

These evidence reviews were performed by the U.K. National Institute for Health

and Care Excellence (NICE), applying the respected “GRADE” criteria for
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 evaluating the strength of clinical evidence.

             140. Both the review of evidence concerning puberty blockers and

 the review of evidence concerning cross-sex hormones were published in

 2020, and both found that all available evidence as to both efficacy and

 safety was “very low quality” according to the GRADE criteria. (NICE

 2021a; NICE 2021b.)                    This work is sometimes referred to as the Cass

 Report.11 “Very low quality” according to GRADE means there is a high

 likelihood that the patient will not experience the hypothesized benefits of

 the treatment. (Balshem et al. 2011.)

             141. Similarly, the highly respected Cochrane Library—the leading

 source of independent systematic evidence reviews in health care—

 commissioned an evidence review concerning the efficacy and safety of

 hormonal treatments now commonly administered to “transitioning

 transgender            women”          (i.e.,    testosterone          suppression   and   estrogen

 administration to biological males). That review, also published in 2020,

 concluded that “We found insufficient evidence to determine the efficacy or

 safety of hormonal treatment approaches for transgender women in

 transition.” (Haupt et al. 2020 at 2.) It must be understood that both the NICE

 and the Cochrane reviews considered all published scientific studies

 concerning these treatments.                     Similarly, McMasters University’s skillful

11
     https://cass.independent-review.uk/publications/ interim-report/
                                                             68
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methodological unit recently reached the same conclusion (Brignardello-

Peterson, & Wiercioch, 2022).

      142. As to social transition, as I have noted above, considerable evidence

suggests that socially transitioning a pre-pubertal child puts him or her on a path

from which very few children escape—a path which includes puberty blockers and

cross-sex hormones before age 18. And for some, surgery before the age of

majority. A decision about social transition for a child must be made in light of

what is known and what is unknown about the effects of those expected future

interventions. Social transition, therefore, is not merely reversible behavioral

change.    It is the beginning of a medically dependent future       and should be

explained as such.

      143. I discuss safety considerations in Section IX below. Here, I detail

what is known about the effectiveness of social and hormonal transition and

affirmation to improve the mental health of individuals diagnosed with gender

dysphoria.

      B.     Youth who adopt a transgender identity show no durable
             improvement in mental health after social, hormonal, or surgical
             transition and affirmation.

      144. As I noted above, the evidence reviews for the efficacy and safety of

hormonal interventions published in 2020 concluded that the supporting evidence

is so poor that there is “a high likelihood that the patient will not experience the

hypothesized benefits of the treatment.” There is now some concrete evidence that
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on average they do not experience those benefits.

      145. An important paper published in 2021 by Tavistock clinic clinicians

provided the results of the first longitudinal study that measured widely used

metrics of general psychological function and suicidality before commencement of

puberty blockers, and then at least annually after commencing puberty blockers.

After up to three years, they “found no evidence of change in psychological

function with GnRHa treatment as indicated by parent report (CBCL) or self-

report (YSR) of overall problems, internalizing or externalizing problems or self-

harm” as compared to the pre-puberty-blocker baseline evaluations. “Outcomes

that were not formally tested also showed little change.” (Carmichael at al. 2021 at

18-19.) Similarly, a study by Bränström and Pachankis of the case histories of a

set of individuals diagnosed with GD in Sweden found no positive effect on

mental health from hormonal treatment. (Landen 2020.)

      146. A cohort study by authors from Harvard and Boston Children’s

Hospital found that youth and young adults (ages 12-29) who self-identified as

transgender had an elevated risk of depression (50.6% vs. 20.6%) and anxiety

(26.7% vs. 10.0%); a higher risk of suicidal ideation (31.1% vs. 11.1%), suicide

attempts (17.2% vs. 6.1%), and self-harm without lethal intent (16.7% vs. 4.4%)

relative to the matched controls; and a significantly greater proportion of

transgender youth accessed inpatient mental health care (22.8% vs. 11.1%) and

outpatient mental health care (45.6% vs. 16.1%) services. (Reisner et al. 2015 at 6.)
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Similarly, a recent longitudinal study of transgender and gender diverse youth and

young adults in Chicago found rates of alcohol and substance abuse “substantially

higher than those reported by large population-based studies of youth and adults.”

(Newcomb et al. 2020 at 14.) Members of the clinical and research team at the

prominent Dutch VU University gender dysphoria center recently compared

mental health metrics of two groups of subjects before (mean age 14.5) and after

(mean age 16.8) puberty blockers. But they acknowledged that the structure of

their study meant that it “can . . . not provide evidence about . . . long-term mental

health outcomes,” and that based on what continues to be extremely limited

scientific data, “Conclusions about the long-term benefits of puberty suppression

should . . . be made with extreme caution.” In other words, we just don’t know.

(van der Miesen et al. 2020 at 703.)

      147. Kiera Bell, who was diagnosed with gender dysphoria at the

Tavistock Clinic, given cross-sex hormones, and treated by mastectomy, before

desisting and reclaiming her female gender identity, and a Swedish teen girl who

appeared in a recent documentary after walking that same path, have both stated

that they feel that they were treated “like guinea pigs,” experimental subjects.

They are not wrong.

      148. A recent two-year prospective uncontrolled multisite NIMH study of

315 adolescents found that at the average age of 18 the primary benefit of

hormones was happiness with their aesthetic appearance.             The effects on
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depression and anxiety were very small and highly variable. There were two

suicides in the study population. (Chen et al, 2023). This work did not address

the relevant long term mental health outcomes of such treatment before their two-

year finding.

      C.        Long-term mental health outcomes for individuals who
                persist in a transgender identity are poor.

      149. The responsible MHP cannot focus narrowly on the short-term

happiness of the young patient, but must instead consider the happiness and

health of the patient from a “life course” perspective. When we look at the

available studies of individuals who continue to inhabit a transgender identity

across adult years, the results are strongly negative.

      150. In the United States, the death rates of trans veterans are comparable

to those with schizophrenia and bipolar diagnoses—20 years earlier than expected.

These crude death rates include significantly elevated rates of substance abuse as

well as suicide. (Levine 2017 at 10.) Similarly, researchers in Sweden and

Denmark have reported on almost all individuals who underwent sex-reassignment

surgery over a 30-year period. (Dhejne et al. 2011; Simonsen et al. 2016.) The

Swedish follow-up study similarly found a suicide rate in the post-SRS population

19.1 times greater than that of the controls; both studies demonstrated elevated

mortality rates from medical and psychiatric conditions. (Levine 2017 at 10.)

      151. A study in the American Journal of Psychiatry reported high mental

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health utilization patterns of adults for ten years after surgery for approximately

35% of patients. (Bränström & Pachankis, 2020.) Indeed, earlier Swedish

researchers in a long-term study of all patients provided with SRS over a 30-year

period (median time since SRS of > 10 years) concluded that individuals who

have SRS exhibit such poor mental health that they should be provided very long-

term psychiatric care as the “final” transition step of SRS. (Dhejne et al. 2011, at

6-7.) Unfortunately, across the succeeding decade, in Sweden and elsewhere their

suggestion has been ignored.

      152. The most recent all-cause mortality study from the UK found a

significant excess of deaths among trans individuals compared to age matched

controls of both sexes. External causes of death (suicide, homicide, accidental

poisoning) were particularly higher than control groups (Jackson et al, 2023).

      153. I will note that these studies do not tell us whether the subjects first

experienced gender dysphoria as children, adolescents, or adults, so we cannot be

certain how their findings apply to each of these subpopulations which represent

quite different pathways. But in the absence of knowledge, we should be

cautious.

      154. Meanwhile, no studies show that affirmation of pre-pubescent

children or adolescents leads to more positive outcomes (mental, physical, social,

or romantic) by, e.g., age 25 or older than does “watchful waiting” or ordinary

therapy.
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      155. The many studies that I have cited here warn us that as we look ahead

to the patient’s life as a young adult and adult, the prognosis for the physical

health, mental health, and social well-being of the child or adolescent who

transitions to live in a transgender identity is not good. Gender dysphoria is not

“easily managed” when one understands the marginalized, vulnerable physical,

social, and psychological status of adult trans populations.

IX.   TRANSITION AND AFFIRMATION DO NOT DECREASE, AND MAY
      INCREASE, THE RISK OF SUICIDE.

      A.     The risk of suicide among transgender youth is confused and
             exaggerated in the public mind.

      156. While suicide is closely linked to mental health, I comment on it

separately because rhetoric relating to suicide figures so prominently in debates

about responses to gender dysphoria.

      157. At the outset, I will note that any discussion of suicide when

considering younger children involves very long-range and very uncertain

prediction. Suicide in pre-pubescent children is extremely rare, and the existing

studies of gender identity issues in pre-pubescent children do not report significant

incidents of suicide. Any suggestion otherwise is misinformed. Our focus for this

topic, then, is on adolescents and adults.

      158. Some authors have reported rates of suicidal thoughts and behaviors

among trans- identifying teens or adults ranging from 25% to as high as 52%,


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generally through non- longitudinal self-reports obtained from non-representative

survey samples. (Toomey et al. 2018.) Some advocates of affirmative care assert

that the only treatment to avoid this serious harm is to affirm gender identity.

Contrary to these assertions, no studies show that affirmation of children (or

anyone else) reduces suicide, prevents suicidal ideation, or improves long-term

outcomes, as compared to either a “watchful waiting” or a psychotherapeutic

model of response, as I have described above. Rhetorical references to figures such

as 40%—and some published studies—confuse suicidal thoughts and actions that

represent a cry for help, manipulation, or expression of rage with serious attempts

to end life. Such statements or studies ignore a crucial and long-recognized

distinction.

       159. I have included suicidality in my discussion of mental health above.

Here, I focus on actual suicide. Too often, in public comment suicidal thoughts are

blurred with suicide. Yet the available data tells us that suicide among children and

youth suffering from gender dysphoria is extremely rare.

       160. An important analysis of data covering patients as well as those on

the waiting list (and thus untreated) at the UK Tavistock gender clinic—the

world’s largest gender clinic—found a total of only four completed suicides

across 11 years’ worth of patient data, reflecting an estimated cumulative 30,000

patient-years spent by patients under the clinic’s care or on its waiting list. This

corresponded to an annual suicide rate of 0.013%. The proportion of individual
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patients who died by suicide was 0.03%, which is orders of magnitude smaller

than trans adolescents who self-report suicidal behavior or thoughts on surveys.

(Biggs 2022b.)

      161. Thus, only a minute fraction of trans-identifying adolescents who

report thoughts or conduct considered to represent “suicidality” commit suicide. I

agree with Dr. Zucker that the assertion by, for example, Karasic and Ehrensaft

(2015) that completed suicides among transgender youth are “alarmingly high”

“has no formal and systematic empirical basis.” (Zucker 2019 at 3.)

      162. Professor Biggs of Oxford, author of the study of incidence of suicide

among Tavistock clinic patients, rightly cautions that it is “irresponsible to

exaggerate the prevalence of suicide.” (Biggs 2022b at 4.) It is my opinion that

telling parents—or even allowing them to believe from their internet reading—

that they face a choice between “a live son or a dead daughter” is both factually

wrong and unethical. Informed consent requires clinicians to tell the truth and

ensure that their patients understand the truth. To be kind, the clinicians who

believe such figures represent high risk of ultimate suicide in adolescence simply

do not know the truth; they are ill-informed.

      B.     Transition of any sort has not been shown to reduce levels of suicide.

      163. Every suicide is a tragedy, and steps that reduce suicide should be

adopted. I have noted above that suicidality (that is, suicidal thoughts or behaviors,

rather than suicide) is common among transgender adolescents and young adults
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before, during, and after social and medical transition. If a medical or mental health

professional believes that an individual he or she is diagnosing or treating for

gender dysphoria presents a suicide risk, in my view it is unethical for that

professional merely to proceed with treatment for gender dysphoria and hope that

“solves the problem.” Rather, that professional has an obligation to provide or refer

the patient for evidence-based therapies for addressing depression and suicidal

thoughts that are well-known to the profession. (Levine 2016 at 242.)

      164. This is all the more true because there is in fact no evidence that social

and/or medical transition reduces the risk or incidence of actual suicide. As there

are no long-term comparative studies of         gender dysphoric adolescents with

suicidal ideation, per se, let alone a comparative study of those who were given

hormones and those who did not take hormones, there is no scientific basis for

declaring affirmative care as reducing suicidal risk. In his analysis of those who

were patients of or on the waiting list of the Tavistock clinic, Professor Biggs

found that the suicide rate was not higher among those on the clinic’s waiting list

(and thus as-yet untreated), than for those who were patients under care. (Biggs

2022b.) And as corrected, Bränström and Pachankis similarly acknowledge that

their review of records of GD patients “demonstrated no advantage of surgery in

relation to . . . hospitalizations following suicide attempts.” (I assume for this

purpose that attempts that result in hospitalization are judged to be so serious as to


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predict a high rate of future suicide if not successfully addressed.”)12 Long-term

life in a transgender identity, however,            correlates with very high rates of

completed suicide.

       165. As with mental health generally, the patient, parent, or clinician

fearing the risk of suicide must consider not just the next month or year, but a life

course perspective.

       166. There are now four long-term studies that analyze completed suicide

              among those living in transgender identities into adulthood. The results

              vary significantly but are uniformly highly negative. Dhejne reported a

              long-term follow-up study of subjects after sex reassignment surgery.

              Across the multi-year study, subjects who had undergone SRS

              committed suicide at 19.1 times the expected rate compared to general

              population controls matched by age and both sexes. MtF subjects

              committed suicide at 13.9 times the expected rate, and FtM subjects

              committed suicide at 40.0 times the expected rate. (Dhejne et al. 2011

              Supplemental Table S1.)

       167. Asscheman, also writing in 2011, reported results of a long-term

follow-up of all transsexual subjects of the Netherlands’ leading gender medicine

clinic who started cross-sex hormones before July 1, 1997, a total of 1331
      12
         Turban et al. (2020) has been described in press reports as demonstrating that
administration of puberty suppressing hormones to transgender adolescents reduces suicide or
suicidal ideation. The paper itself does not make that claim, nor permit that conclusion.

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patients. Due to the Dutch system of medical and death records, extensive follow-

up was achieved. Median follow-up period was 18.5 years. The mortality rate

among MtF patients was 51% higher than among the age-matched general

population; the rate of completed suicide among MtF patients was six times that

of the age- matched general population. (Asscheman et al. 2011.)

      168. Importantly, Asscheman et al. found that “No suicides occurred

within the first 2 years of hormone treatment, while there were six suicides after 2-

5 years, seven after 5-10 years, and four after more than 10 years of CSH

treatment at a mean age of 41.5 years." (Asscheman et al. 2011 at 637-638.) This

suggests that studies that follow patients for only a year or two after treatment are

insufficient. Asscheman et al.’s data suggest that such short-term follow-up is

engaging only with an initial period of optimism, and will simply miss the feelings

of disillusion and the increase in completed suicide that follows in later years.

      169. A retrospective, long-term study published in 2020 of a very large

cohort (8263) of patients referred to the Amsterdam University gender clinic

between 1972 and 2017 found that the annual rate of completed suicides among

the transgender subjects was “three to four times higher than the general Dutch

population.” “[T]he incidence of observed suicide deaths was almost equally

distributed over the different stages of treatment.” The authors concluded that

“vulnerability for suicide occurs similarly in the different stages of transition.”


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(Wiepjes et al. 2020.) In other words, neither social nor medical transition reduced

the rate of suicide.

       170. As with Asscheman et al., Wiepjes et al. found that the median time

between start of hormones and suicide (when suicide occurred) was 6.1 years for

natal males, and 6.9 years for natal females. Again, short- or even medium-term

studies will miss this suicide phenomenon.

       171. A 2021 study analyzed the case histories of a cohort of 175 gender

dysphoria patients treated at one of the seven UK adult gender clinics who were

“discharged” (discontinued as patients) within a selected one-year period. The

authors reported the rather shocking result that 7.7% (3/39) of natal males who

were diagnosed and admitted for treatment, and who were between 17 and 24 years

old, were “discharged” because they committed suicide during treatment. (Hall et

al. 2021, Table 2.)

       172. None of these studies demonstrates that the hormonal or surgical

intervention caused suicide. That is possible, but as we have seen, the

population that identifies as transgender suffers from a high incidence of

comorbidities that correlate with suicide. What these studies demonstrate—at

the least—is that this remains a troubled population in need of extensive and

careful psychological care that they generally do not receive, and that neither

hormonal nor surgical transition and “affirmation” resolve their underlying

problems and put them on the path to a stable and healthy life.
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      173. In sum, claims that affirmation will reduce the risk of suicide for

children and adolescents are not based on science. Instead, transition of any sort

must be justified, if at all, as a life-enhancing measure, not a lifesaving measure.

(Levine 2016 at 242.) In my opinion, this is an important fact that patients,

parents, and even many MHPs fail to understand.

X.    HORMONAL     INTERVENTIONS     ARE    EXPERIMENTAL
      PROCEDURES THAT HAVE NOT BEEN PROVEN SAFE.

      174. A number of voices in the field assert that puberty blockers act

merely as a “pause” in the process of puberty-driven maturation, suggesting that

this hormonal intervention has been proven to be fully reversible. This is also an

unproven belief.

      175. On the contrary, no studies have been done that meaningfully

demonstrate that either puberty blockers or cross-sex hormones, as prescribed for

gender dysphoria, are safe in other than the short run. No studies have attempted

to determine whether the effects of puberty blockers, as currently being prescribed

for gender dysphoria, are fully reversible. There are only pronouncements. In fact,

there are substantial reasons for concern that these hormonal interventions are not

safe. Multiple researchers have expressed concern that the full range of possible

harms have not even been correctly conceptualized.

      176. Because, as I have explained in Section VI, recent evidence

demonstrates that pre- pubertal social transition almost always leads to progression

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on to puberty blockers which in turn almost always leads to the use of cross-sex

hormones, physicians bear the ethical responsibility for a thorough informed

consent process for parents and patients that includes this fact and its full

implications. Informed consent does not mean sharing with the parents and

patients what the doctor believes: it means sharing what is known and what is not

known about the intervention. So much of what doctors believe is based on mere

trust in what they have been taught. Neither they themselves nor their teachers

may be aware of the scientific foundation and scientific limitations of what they

are recommending.

      A.    Use of puberty blockers has not been shown to be safe or
            reversible for gender dysphoria.

      177. As I noted above, the recent very thorough literature review

performed for the British NHS concluded that all available clinical evidence

relating to “safety outcomes” from administration of puberty blockers for gender

dysphoria is of “very low certainty.” (NHS 2020a at 6.)

      178. In its 2017 Guidelines, the Endocrine Society cautioned that “in

the future we need more rigorous evaluations of the effectiveness and safety of

endocrine and surgical protocols” including “careful assessment of . . . the

effects of prolonged delay of puberty in adolescents on bone health, gonadal

function, and the brain (including effects on cognitive, emotional, social, and

sexual development).” (Hembree et al. 2017 at 3874.) No such “careful” or

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“rigorous” evaluation of these very serious safety questions has yet been done.

      179. Some advocates assume that puberty blockers are “safe” because

they have been approved by the Food and Drug Administration (FDA) for use to

treat precocious puberty—a rare condition in which the puberty process may start

at eight or younger. No such conclusion can be drawn. As the “label” for Lupron

(one of the most widely prescribed puberty blockers) explains, the FDA approved

the drug only until the “age was appropriate for entry into puberty.” The study

provides no information at all as to the safety or reversibility of instead blocking

healthy, normally-timed puberty’s beginning, and throughout the years that body-

wide continuing changes normally occur. Given the physical, social, and

psychological dangers to the child with precocious puberty, drugs like Lupron are

effective in returning the child to a puerile state like their peers without a high

incidence of significant side effects—that is, they are “safe” to reverse the

condition. But use of drugs to suppress normal puberty has multiple organ system

effects whose long-term consequences have not been investigated.

      180. Systematic data reviews are scientifically more reliable than

individual reports with definable methodologic limitations        Without quoting

extensively from the reviews done by Sweden, Finland, UK, and McMasters

University, suffice it to say that their conclusions agree that the risks of puberty

suppression and cross-sex hormones outweigh the possible benefits. They also

point to the great unexplained increase in incidence of gender dysphoria, the
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 increased incidence of detransition and regret, and the lack of evidence of

 efficacy.13(Swedish National Board of Health and Welfare, 2022).

            181. Fertility: The Endocrine Society Guidelines rightly say that research

 is needed into the effect of puberty blockade on “gonadal function” and “sexual

 development.” The core purpose and function of puberty blockers is to prevent the

 maturation of the ovaries or testes, the sources of female hormones and male

 hormones when stimulated by the pituitary gland. From this predictable process

 fertility is accomplished within a few years. Despite widespread assertions that

 puberty blockers are “fully reversible,” there has been no study published on the

 critical question of whether patients ever develop normal levels of fertility if

 puberty blockers are terminated after a “prolonged delay of puberty.” The 2017

 Endocrine Society Guidelines are correct that are no data on achievement of

 fertility “following prolonged gonadotropin suppression” (that is, puberty

 blockade). (Hembree et al. 2017 at 3880.)

            182. Bone strength: Multiple studies have documented adverse effects

 from puberty blockers on bone density. (Klink et al. 2015; Vlot et al. 2016; Joseph

 et al. 2019.) The most recent found that after two years on puberty blockers, the

 bone density measurements for a significant minority of the children had declined

 to clinically concerning levels. Density in the spines of some subjects fell to a level

 found in only 0.13% of the population. (Biggs 2021.) Some other studies have

13
     https:/www.sociialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapsstod/2022-7799.pdf
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found less concerning effects on bone density. While the available evidence

remains limited and conflicting, it is not possible to conclude that the treatment is

“safe.”

      183. Brain development: Important neurological growth and development

in the brain occurs across puberty. The anatomic and functional effect on brain

development of blocking the natural puberty process has not been well studied. A

prominent Australian clinical team recently expressed concern that “no data were

(or are) available on whether delaying the exposure of the brain to a sex steroid

affects   psychosexual,   cognitive,   emotional,    or   other   neuropsychological

maturation.” (Kozlowska et al. 2021 at 89.) In my opinion, given the observed

correlation between puberty and brain development, the default hypothesis must be

that there would be a negative impact. For the purpose of protecting patients all

over the world, the burden of proof should be on advocates to first demonstrate to

a reasonable degree of certainty that brain structure and its measurable cognitive

and affect processing are not negatively affected. This recalls the ethical principle:

Above All Do No Harm.

      184. The Endocrine Society Guidelines acknowledge as much, stating that

side effects of pubertal suppression “may include . . . unknown effects on brain

development,” that “we need more rigorous evaluations of . . . the effects of

prolonged delay of puberty in adolescents on . . . the brain (including effects on

cognitive, emotional, social, and sexual development),” and stating that “animal
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data suggests there may be an effect of GnRH analogs [puberty blockers] on

cognitive function.” (Hembree et al. 2017 at 3874, 3882, 3883.) Given this

concern, one can only wonder why this relevant question has not been

scientifically investigated in a large group of natal males and females.

      185. There has been a longitudinal study of one natal male child, assessed

before, and again 20 months after, puberty suppression was commenced. It

reported a reduction in the patient’s “global IQ,” measured an anomalous absence

of certain structural brain development expected during normal male puberty, and

hypothesized that “a plausible explanation for the G[lobal] IQ decrease should

consider a disruption of the synchronic [i.e., appropriately timed] development of

brain areas by pubertal suppression.” (Schneider et al. 2017 at 7.) This should

cause parents and practitioners serious concern.

      186. Whether any impairment of brain development is “reversed” upon

later termination of puberty blockade has, to my knowledge, not been studied at

all. As a result, assertions by medical or mental health professionals that puberty

blockade is “fully reversible” are unjustified and based on hope rather than

science.

      187. Without a number of additional case studies—or preferably

statistically significant clinical studies—two questions remain unanswered: Are

there brain anatomic or functional impairment from puberty blockers? And are the

documented changes reversed over time when puberty blockers are stopped? With
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these questions unanswered, it is impossible to assert with certainty that the effects

of this class of medications are “fully reversible.” Such an assertion is another

example of ideas based on beliefs rather than on documentation, on hope not

science.

      188. Psycho-social harm: Puberty is a time of stress, anxiety, bodily

discomfort during physical development, and identity formation for all humans.

No careful study has been done of the long-term impact on the young person’s

coping skills, interpersonal comfort, and intimate relationships from remaining

puerile for, e.g., two to five years while one’s peers are undergoing pubertal

transformations, and of then undergoing an artificial puberty at an older age.

However, pediatricians and mental health professionals hear of distress, concern,

and social awkwardness in those who naturally have a delayed onset of puberty. In

my opinion, individuals in whom puberty is delayed multiple years are likely to

suffer at least subtle negative psychosocial and self-confidence effects as they

stand on the sidelines witnessing their peers developing the social relationships

(and attendant painful social learning experiences) that come with adolescence.

(Levine 2018 at 9.) Social anxiety and social avoidance are common findings in

the evaluation of trans-identified children and teens. Are we expected to believe

that creating years of being further different than their peers has no lasting internal

consequences? Do we ignore Adolescent Psychiatry’s knowledge of the

importance of peer groups among adolescents?
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      189. We simply do not know what all the psychological impacts of

NOT grappling with puberty at the ordinary time may be, because it has not

been studied. And we have no information as to whether that impact is “fully

reversible.”

      190. In addition, since the overwhelming proportion of children who

begin puberty blockers continue on to cross-sex hormones, it appears that there is

an important element of “psychological irreversibility” in play. The question of to

what extent the physical and developmental impacts of puberty blockers might be

reversible is an academic one, if psycho- social realities mean that very few

patients well ever be able to make that choice once they have started down the

road of social transition and puberty blockers.

      B.       Use of cross-sex hormones in adolescents for gender dysphoria
               has not been shown to be medically safe except in the short term.

      191. As with puberty blockers, all evidence concerning the safety of

extended use of cross-sex hormones is of “very low quality.” The U.K. NICE

evidence review cautioned that “the safety profiles” of cross-sex hormone

treatments are “largely unknown,” and that several of the limited studies that do

exist reported high numbers of subjects “lost to follow-up,” without explanation—

a worrying indicator. (NICE 2020b.)

      192. The 2020 Cochrane Review reported that: “We found insufficient

evidence to determine the . . . safety of hormonal treatment approaches for

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transgender women in transition.” (Haupt et al. 2020 at 4.) Even the Endocrine

Society tagged all its recommendations for the administration of cross-sex

hormones as based on “low quality evidence.” (Hembree et al. 2017 at 3889.)

       193. Sterilization: It is undisputed, however, that harm to the gonads is an

expected effect, to the extent that it must be assumed that cross-sex hormones will

sterilize the patient. Thus, the Endocrine Society 2017 Guidelines caution that

“[p]rolonged exposure of the testes to estrogen has been associated with testicular

damage,” that “[r]estoration of spermatogenesis after prolonged estrogen treatment

has not been studied,” and that “[i]n biological females, the effect of prolonged

treatment with exogenous testosterone upon ovarian function is uncertain.”

(Hembree et al. 2017 at 3880.) 14

       194. The Guidelines go on to recommend that the practitioner counsel the

patient about the (problematic and uncertain) options available to collect and

preserve fertile sperm or ova before beginning cross-sex hormones. The life-long

negative emotional impact of infertility on both men and women has been well

studied. While this impact has not been studied specifically within the transgender

population, the opportunity to be a parent is likely a human, emotional need, and

so should be considered an important risk factor when considering gender


       14
             See also Guss et al. 2015 at 4 (“a side effect [of cross-sex hormones] may be
infertility”) and at 5 (“cross-sex hormones . . . may have irreversible effects”); Tishelman et al.
2015 at 8 (Cross-sex hormones are “irreversible interventions” with “significant ramifications for
fertility”).

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transition for any patient. What has been documented is te low rate of acceptance

of banking sperm or ova in this population.

      195. Sexual response: Puberty blockers prevent maturation of the sexual

organs and response. Some, and perhaps many, transgender individuals who did

not go through puberty consistent with their sex and are then put on cross-sex

hormones face significantly diminished sexual response as they enter adulthood

and are unable ever to experience orgasm. In the case of males, the cross-sex

administration of estrogen limits penile genital growth and function. In the case of

females, prolonged exposure to exogenous testosterone impairs vaginal function.

Much has been written about the negative psychological and relational

consequences of anorgasmia among non-transgender individuals that is ultimately

applicable to the transgendered. (Levine 2018 at 6.) At the same time, prolonged

exposure of females to exogenous testosterone often increases sexual drive to a

distracting degree. It is likely that parents and physicians are uncomfortable

discussing any aspects of genital sexual activity with patients. And these young

often interpersonally sexually inexperienced patients are both too embarrassed to

talk about the subject and too young to seriously consider the topic.

      196. Cardiovascular harm: Several researchers have reported that cross-

sex hormones increase the occurrence of various types of cardiovascular disease,

including strokes, blood clots, and other acute cardiovascular events. (Getahun et

al. 2018; Guss et al. 2015; Asscheman et al. 2011.) With that said, I agree with the
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conclusion of the Endocrine Society committee (like that of the NICE Evidence

Review) that: “A systematic review of the literature found that data were

insufficient (due to very low–quality evidence) to allow a meaningful assessment

of patient-important outcomes, such as death, stroke, myocardial infarction, or

venous thromboembolism in transgender males. Future research is needed to

ascertain the potential harm of hormonal therapies.” (Hembree et al. 2017 at

3891.) Future research questions concerning long-term harms need to be far more

precisely defined. The question of whether cross-sex hormones are safe for

adolescents and young adults cannot be answered by analogies to hormone

replacement therapy in menopausal women (which is not a cross-sex usage).

Medicine has answered safety questions for menopausal women in terms of

cancer and cardiovascular safety: at what dose, for what duration, and at what age

range. The science of endocrine treatment of gender dysphoric youth is being

bypassed by short-term clinical impressions of safety even though physicians

know that cardiovascular and cancer processes often develop over many years.

      197. Further, in contrast to administration for menopausal women,

hormones begun in adolescence are likely to be administered for four to six

decades. The published evidence of adverse impact, coupled with the lack of data

sufficient to reach a firm conclusion, make it irresponsible to assert that cross-sex

hormones “are safe.”


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      198. Harm to family and friendship relationships: As a psychiatrist, I

recognize that mental health is a critical part of health generally, and that

relationships cannot be separated from and profoundly impact mental health.

Gender transition routinely leads to isolation from at least a significant portion of

one’s family in adulthood. In the case of a juvenile transition, this will be less

dramatic while the child is young, but commonly increases over time as siblings

who marry and have children of their own do not wish the transgender individual

to be in contact with those children. By adulthood, the friendships of transgender

individuals tend to be confined to other transgender individuals (often “virtual”

friends known only online) and the generally limited set of others who are

comfortable interacting with transgender individuals. (Levine 2017 at 5.) My

concerns about this are based on decades of observations in my professional work

with patients and their families. It is important to recognize that the tradition

throughout medicine is the focus on the patient.        This is true in adolescent

medicine as well and seems natural and self-evident. However, when a trans

identity occurs in a family, every member—parents, siblings, grandparents, etc—is

affected. I am used to watching parents become depressed, siblings take sides, and

family dysfunction increase.     It is rare to find a medical or mental health

professional whose work reflects that each of these family members are deeply

connected and share in the uncertainties that are embedded in any trans identity.


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      199. Sexual-romantic       harms     associated   with    transition:   After

adolescence, transgender individuals find the pool of individuals willing to

develop a romantic and intimate relationship with them to be greatly diminished.

When a trans person who passes well reveals his or her natal sex, many potential

mates lose interest. When a trans person does not pass well, options are likely

further diminished. But regardless of a person’s appearance, these adults soon learn

that many of their dates are looking for exotic sexual experiences rather than

genuinely loving relationships. (Levine 2017 at 5, 13; Levine 2013 at 40.)

      C.    The timing of harms.

      200. The multi-year delay between start of hormones and the spike in

completed suicide observed by Professor Biggs in the Tavistock data (as discussed

in Section VIII above) warns us that the safety and beneficence of these treatments

cannot be judged based on short- term studies, or studies that do not continue into

adulthood. Similarly, several of the harms that I discuss above would not be

expected to manifest until the patients reaches at least middle-age. For example,

stroke or other serious cardiovascular event is a complication that is unlikely to

manifest during teen years even if its likelihood over the patient’s lifetime has

been materially increased via obesity, lipid abnormalities, and smoking. Regret

over sterilization or over an inability to form a stable romantic relationship may

occur sooner. Psychological challenges of being a trans adult may become

manifest after the medical profession is only doing routine follow up care—or, in
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many cases, has lost contact with the patient altogether. Because few, if any,

clinics in this country are conducting systematic long-term follow-up with their

child and adolescent patients, the doctors who counsel, prescribe, or perform

hormonal and surgical therapies are unlikely ever to become aware of the later

negative life impacts, however severe. These concerns are compounded by the

findings in the recent “detransitioner” research that 76% did not inform their

clinicians of their detransition. (Littman 2021.)

      201. The possibility that steps along the transition and affirmation

pathway, while lessening the pain of gender dysphoria in the short term, could

lead to additional sources of crippling emotional and psychological pain, are too

often not considered by advocates of social transition and not considered at all by

the trans child. (Levine 2016 at 243.) Clinicians must distinguish the apparent

short-term safety of hormones from likely or possible long-term consequences,

and help the patient or parents understand these implications as well. The young

patient may feel, “I don’t care if I die young, just as long I get to live as a

woman.” The mature adult may take a different view. Hopefully, so will the

child’s physician.

      202. Individual patients often pin excessive hope in transition, believing

that transition will solve what are in fact ordinary social stresses associated with

maturation, or mental health co-morbidities. In this way, transition can prevent

them from mastering personal challenges at the appropriate time or directly
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addressing conditions that require treatment. When the hoped-for “vanishing” of

other mental health or social difficulties does not occur, disappointment, distress,

and depression may ensue. It is noteworthy that half of the respondents to the

larger “detransitioner” survey reported that their transition had not helped the

gender dysphoria, and 70% had concluded that their gender dysphoria was related

to other issues. (Vandenbussche 2021.) Without the clinical experience of

monitoring the psychosocial outcomes of these young patients as they age into

adulthood, many such professionals experience no challenge to their affirmative

beliefs. But medical and mental health professionals who deliver trans affirmative

care for those with previous and co-existing mental health problems have an

ethical obligation to inform themselves, and to inform patients and parents, that

these dramatic treatments are not a panacea.

      203. In sum, whether we consider physical or mental health, science does

not permit us to say that either puberty blockers or cross-sex hormones are “safe,”

and the data concerning the mental health of patients before, during, and after such

treatments strongly contradict the assertion that gender dysphoria is “easily

managed.”




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             I declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury that

the foregoing is true and correct. Executed this 16th day of February, 2023.



                                                   Stephen B. Levine, M.D.




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                              Exhibit “A”




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               Stephen B. Levine, M.D.                                   Curriculum Vita
                                                                         February, 2022

Brief Introduction
        Dr. Levine is Clinical Professor of Psychiatry at Case Western Reserve University
School of Medicine. He is the author or coauthor of numerous books on topics relating to human
sexuality and related relationship and mental health issues. Dr. Levine has been teaching,
providing clinical care, and writing since 1973, and has generated original research, invited
papers, commentaries, chapters, and book reviews. He has served as a journal manuscript and
book prospectus reviewer for many years. Dr. Levine has been co-director of the Center for
Marital and Sexual Health/ Levine, Risen & Associates, Inc. in Beachwood, Ohio from 1992 to
the present. He received a lifetime achievement Masters and Johnson’s Award from the Society
for Sex Therapy and Research in March 2005.
Personal Information
   Date of birth 1/14/42
   Medical license no. Ohio 35-03-0234-L
   Board Certification 6/76 American Board of Neurology and Psychiatry
Education
   1963 BA Washington and Jefferson College
   1967 MD Case Western Reserve University School of Medicine
   1967-68 internship in Internal Medicine University Hospitals of Cleveland
   1968-70 Research associate, National Institute of Arthritis and Metabolic Diseases,
   Epidemiology Field Studies Unit, Phoenix, Arizona, United States Public Health Service
   1970-73 Psychiatric Residency, University Hospitals of Cleveland
   1974-77 Robert Wood Johnson Foundation Clinical Scholar
Appointments at Case Western Reserve University School of Medicine
   1973- Assistant Professor of Psychiatry
   1979- Associate Professor
   1982- Awarded tenure
   1985- Full Professor
   1993- Clinical Professor




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Honors
   Summa Cum Laude, Washington & Jefferson
   Teaching Excellence Award-1990 and 2010 (Residency program)
   Visiting Professorships
       •       Stanford University-Pfizer Professorship program (3 days)–1995
       •       St. Elizabeth’s Hospital, Washington, DC –1998
       •       St. Elizabeth’s Hospital, Washington, DC--2002
   Named to America’s Top Doctors consecutively since 2001
   Invitations to present various Grand Rounds at Departments of Psychiatry and Continuing
   Education Lectures and Workshops
   Masters and Johnson Lifetime Achievement Award from the Society of Sex Therapy and
   Research, April 2005 along with Candace Risen and Stanley Althof
   2006 SSTAR Book Award for The Handbook of Clinical Sexuality for Mental Health
   Professionals: Exceptional Merit
   2018—Albert Marquis Lifetime Achievement Award from Marquis Who’s Who. (Exceling
   in one’s field for at least twenty years)
Professional Societies
   1971- American Psychiatric Association; fellow; #19909
   2005- American Psychiatric Association, Distinguished Life Fellow
   1973- Cleveland Psychiatric Society
   1973- Cleveland Medical Library Association
       •       1985 - Life Fellow
       •       2003 - Distinguished Life Fellow
   1974-Society for Sex Therapy and Research
       •       1987-89-President
   1983- International Academy of Sex Research
   1983- Harry Benjamin International Gender Dysphoria Association
       •       1997-8 Chairman, Standards of Care Committee
   1994- 1999 Society for Scientific Study of Sex




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Community Boards
   1999-2002 Case Western Reserve University Medical Alumni Association
   1996-2001 Bellefaire Jewish Children’s Bureau
   1999-2001 Physicians’ Advisory Committee, The Gathering Place (cancer rehabilitation)
Editorial Boards
   1978-80 Book Review Editor Journal Sex and Marital Therapy
   Manuscript Reviewer for:
          a. Archives of Sexual Behavior
          b. Annals of Internal Medicine
          c. British Journal of Obstetrics and Gynecology
          d. JAMA
          e. Diabetes Care
          f. American Journal of Psychiatry
          g. Maturitas
          h. Psychosomatic Medicine
          i. Sexuality and Disability
          j. Journal of Nervous and Mental Diseases
          k. Journal of Neuropsychiatry and Clinical Neurosciences
          l. Neurology
          m. Journal Sex and Marital Therapy
          n. Journal Sex Education and Therapy
          o. Social Behavior and Personality: an international journal (New Zealand)
          p. International Journal of Psychoanalysis
          q. International Journal of Transgenderism
          r. Journal of Urology
          s. Journal of Sexual Medicine
          t. Current Psychiatry
          u. International Journal of Impotence Research
          v. Postgraduate medical journal
          w. Academic Psychiatry


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   Prospectus Reviewer
           a. Guilford
           b. Oxford University Press
           c. Brunner/Routledge
           d. Routledge
Administrative Responsibilities
   Principal Investigator of approximately 70 separate studies involving pharmacological
   interventions for sexual dysfunction since 1989.
   Co-leader of case conferences at DELRLLC.com
Expert testimony at trial or by deposition within the last 4 years
   Provided expert testimony for Massachusetts Dept. of Corrections in its defense of a lawsuit
   brought by prisoner Katheena Soneeya, including by deposition in October 2018, and in-
   court testimony in 2019.
   Provided expert testimony by deposition and at trial in In the Interests of the Younger
   Children (Dallas, TX), 2019.
   Testified in an administrative hearing in In the matter of Rhys & Lynn Crawford (Washington
   State), March 2021.
   Testified multiple times in juvenile court in In the matter of Asha Kerwin (Tucson, Arizona),
   2021.
   Provided expert testimony by deposition in Kadel et al v. Folwell et al. (North Carolina),
   2021.
Consultancies
   Massachusetts Department of Corrections—evaluation of 12 transsexual prisoners and the
   development of a Gender Identity Disorders Program for the state prison system. Monthly
   consultation with the GID treatment team since February 2009 and the GID policy committee
   since February 2010.
   California Department of Corrections and Rehabilitation; 2012-2015; education, inmate
   evaluation, commentary on inmate circumstances, suggestions on future policies.
   Virginia Department of Corrections –evaluation of an inmate.
   New Jersey Department of Corrections—evaluation of an inmate.
   Idaho Department of Corrections—workshop 2016.
Grant Support/Research Studies
   TAP–studies of Apomorphine sublingual in treatment of erectile dysfunction.



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   Pfizer–Sertraline for premature ejaculation.
   Pfizer–Viagra and depression; Viagra and female sexual dysfunction; Viagra as a treatment
   for SSRI-induced erectile dysfunction.
   NIH- Systemic lupus erythematosis and sexuality in women.
   Sihler Mental Health Foundation
          a. Program for Professionals
          b. Setting up of Center for Marital and Sexual Health
          c. Clomipramine and Premature ejaculation
          d. Follow-up study of clergy accused of sexual impropriety
          e. Establishment of services for women with breast cancer
   Alza–controlled study of a novel SSRI for rapid ejaculation.
   Pfizer–Viagra and self-esteem.
   Pfizer- double-blind placebo control studies of a compound for premature ejaculation.
   Johnson & Johnson – controlled studies of Dapoxetine for rapid ejaculation.
   Proctor and Gamble: multiple studies to test testosterone patch for post menopausal sexual
   dysfunction for women on and off estrogen replacement.
   Lilly-Icos—study of Cialis for erectile dysfunction.
   VIVUS – study for premenopausal women with FSAD.
   Palatin Technologies- studies of bremelanotide in female sexual dysfunction—first intranasal
   then subcutaneous administration.
   Medtap – interview validation questionnaire studies.
   HRA- quantitative debriefing study for Female partners os men with premature ejaculation,
   Validation of a New Distress Measure for FSD.
   Boehringer-Ingelheim- double blind and open label studies of a prosexual agent for
   hypoactive female sexual desire disorder.
   Biosante- studies of testosterone gel administration for post menopausal women with HSDD.
   J&J a single-blind, multi-center, in home use study to evaluate sexual enhancement effects of
   a product in females.
   UBC-Content validity study of an electronic FSEP-R and FSDS-DAO and usability of study
   PRO measures in premenopausal women with FSAD, HSDD or Mixed FSAD/HSDD.
   National registry trial for women with HSDD.
   Endoceutics—two studies of DHEA for vaginal atrophy and dryness in post menopausal
   women.

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   Trimel- a double-blind, placebo controlled study for women with acquired female orgasmic
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